Case O:lS-CV-62345-FAI\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 1 of 52

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No.

FLORIDA GUN SHOWS, INC.,

A Flor'ida corporation, f/k/a SHOOT

STRAIGHT GUN SHOWS, INC.
Piaintiff,

V.

CITY OF FORT LAUDERDALE ,
A Florida Municipality,

Defendant.

 

VERIFIEI) COMPLAINT

Piaintiff, FLORIDA GUN SHOW, INC., a Flc)rida Corporation, complains against THE

CITY OF F'I`. LAUDERDALE, a Florida municipality, and alleges as follows
PARTIES

l. Florida Gim Show, Inc. (“FL Gun Show”) is a Florida Corporation having Fiorida
as both its domicile and principal place of business Prior to a change of name in 2015, FL Gun
Show was named SHOOT STRAIGHT GUN SHOWS, INC.

2. The City of Ft. Lauderdaie (the “City”) is a Florida municipality, and is a
“person” within the meaning of 42 U.S.C. § 1983.

_JURISDICTION §§ VENUE
3. This Court has subject matter jurisdiction of the federal question claims pursuant

to 28 U.S.C. §§ 1331 and 1343(3)(3). Piaintiff seeks to redress a deprivation of rights guaranteed

Case O:18-cv-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 2 of 52

by the First and Fourteenth Amendrnents to the United States Constitution, Pursuant to 42 U.S.C.
§ 1983.

4. This Court has supplemental jurisdiction pursuant to 28 U.S.C § l36'i'(a) over
claims that are so related to the claims over which this Court has original jurisdiction that they
form part of the same controversy

5 . The Court has the authority to render declaratory judgments and to issue
permanent injunctive relief pursuant to 28 U.S,C. §§ 2201, 2202 and Rule 65. Fed.R.Civ.P.

6. The Court may award attorneys’ fees pursuant to 42 U.S.C. § 1988.

7. Venue is proper in the Southern I)istrict of Florida because the City is located in
the Southern District of Flon`da and all of the acts complained of herein have occurred in the
Southern District of Florida.

FACTUAL BACKGROUND

8. FL Gun Show is in the business of organizing and promoting gun shows
throughout the State of Florida, including at the War Memorial Auditoriurn (the “WMA”).

9. The City owns and operates the WMA. The WMA is an exhibition hall which
first opened its doors in 1950 and was intended to serve as a living memorial to the veterans and
fallen soldiers of World War II.

lO. The City Describes the WMA as a “rnulti-purpose facility” located in Holiday
Park within the City of Ft. Lauderdale. The City licenses the use of the WMA to exhibitors,
performers and artists, including for “gate” shows like the gun show. In its early days, the WMA
has hosted performances by a wide variety of artists Currently, the WMA hosts boxing matches,

mixed martial arts competitions, body building competitions, magic shows, LGBT community

Case O:18-cv-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 3 of 52

events along with a wide variety of other events and exhibitions including, of course, guns
shows. Indeed, the WMA has hosted multiple gun shows per year for many years.

ll. To accommodate its exhibitors that promote shows at the WMA year after year on
a repeat basis, the City uses a reservation hold system. Under that system, the City holds or
reserves future dates, in some cases years into the future, for its exhibitorsl Those “hold” dates
are reserved for the benefit of the exhibitor and essentially operate as a right of first refusal. For
example, if a new potential exhibitor Wants to use the WMA on a date already reserved for
another exhibitor, the reserved date can only be given away if the exhibitor for whom it was
reserved agrees and meets other conditions

12. The reservation hold system employed by the City at the WMA benefits all
parties involved It provides repeat exhibitors with the security of knowing that they have dates
reserved into the future so that they can plan and invest accordingly The hold system also
provides the City with the security of knowing that its facility is booked with experienced and
knowledgeabie repeat exhibitors that have demonstrated their ability to run safe and profitable
shows at the WMA.

13. Upon information and belief, the “hold” system is also widely employed by other
fairgrounds and exhibition halls throughout Florida as a standard industry practice. The hold
dates are binding and allow exhibitors the ability to plan for future events.

l4. In or about 2014, FL Gun Show purchased Suncoast Gun Shows (“Suncoast”).
Prior to its acquisition by FL Gun Show, Suncoast had been in the business of promoting
multiple gun shows per year at the WMA and had been doing so for many, many years Upon
purchasing Suncoast, FL Gun Show acquired the right to promote future gun shows at the WMA

on the dates already reserved by the City for Suncoast.

Case O:18-cv-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 4 of 52

15. In or about 2014, the City and FI., Gun Show entered into a so»called license
agreement at the WMA for the 2015 calendar year. That agreement set forth the fees, costs and
conditions for FL Gun Show’s use of the WMA in 2015 for the promotion of six “Gun and
knife” shows on dates specifically identified in that agreement Aside from the gun show dates
identified in FL Gun Show’s 2015 license agreement with the City, FL Gun Show also had
future “hold” dates for additional gun shows years into the future not only through its purchase
of Suncoast, but on its own behalf as a repeat promoter of gate shows at the WMA in accordance
with WMA’s own practice and procedures

16. Each year, the parties executed substantially similar license agreements covering
gun show dates at the WMA for 2016, 2017, and 2018, adding a seventh show for years 2017
and 2018. The City has never advised FL Gun Show of any default under any of its license
agreements, or even of a potential default thereunder. Thus, it is the parties’ custom and practice
that, prior to the expiration of whichever current license agreement the parties were operating
under, the parties would execute another license agreement covering the previously agreed-upon
dates for the promotion of the gun show for the following calendar year. As each subsequent
license agreement is executed, the executory “hold” dates for that calendar year move from
“hold” status to contracted status and became a part of the parties’ new license agreement
Upon information and belief, the City ulitizes this “hold/reserved dates to contract dates”
procedure for all promoters of gate shows at the WMA, not just for Plaintiff.

17. Similarly, on or about July 6, 2017, the City and FL Gun Show entered into yet
another license agreement covering the previously agreed upon hold dates for gun shows for the
2018 calendar year (the License Agreement). A true and correct copy of the License Agreement

is attached hereto as Exhibit “l.” Like the three previous license agreements that came before it,

Case O:lS-cV-62345-FAI\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 5 of 52

the License Agreement sets forth the fees, costs and conditions for FL Gun Show’s use of the
WMA to promote “Gun and knife” shows for the year 2018.

18. As was the practice and custom of the parties, in addition to the 2018 dates listed
in the License Agreement, FL Gun Show selected and reserved future dates for gun shows at the
WMA though the year 2025.

19. Given that: (i) the City’s WMA license agreements cover a single calendar year;
(ii) that it has been the parties’ course of conduct to execute new license agreement year after
year and (iii) that FL Gun Show has valid specific “hold dates” for gun shows though at least
2025, FL Gun Show has an expectation and right to receive a license agreement covering the
2019 gun show dates it already has on hold for 2019 and so forth for every subsequent year for
which dates are already reserved

20. Pursuant to the License Agreement and the ones that preceded it, to date, FL Gun
Show has promoted approximately twenty~four gun shows at the WMA over 4 years. For each
of those shows, FL Gun Show has met all of its financial commitments under the various license
agreements and has also complied with every other condition imposed by those agreements
concerning insurance, police presence, parking, licensing, permitting, gun safety and many other
topics. All of the shows promoted by FL Gun Show at the WMA have been successes; ali have
run smoothly, safely and without incident; and literally thousands of visitors attend each of FL
Gun Show’s gun shows

21. Despite FL Gun Show’s history of promoting successful and safe gun shows at
the WMA for many years, as a result of the tragic shooting deaths of a number of Broward
County students at the hands of a criminal, the political climate in Broward County in 2018 has

become very hostile towards gun shows and gun rights in general.

Case O:18-cv-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 6 of 52

22. Duririg a City commission meeting held on March 20, 2018, City Commissioners
turned their attention to the issue of gun shows at the WMA. At that meeting, the City’s recently
elected Mayor, Mr. Dean Trantalis and several Commissioners expressed their view that it was
time for the City to stop allowing gun shows at the WMA. Excerpts from that meeting include:

“[I]t seems to me that we have -- we have a situation that the community has - continues
to speak out against having the gun show at War Memorial. I’m hopeful that this
commission will put on the record its opinion that we should riot continue this gun show
after the license agreement expires.”

Mavor Trantalis: Transcrintion of Cornmission Meetina pg. 3, lines 19-25, attached
hereto as Exhibit “2.”

“I do believe it was the opinion of the past commission to continue the gun show and to
continue the license as-is, but now that we have a new commission, l think we have a
different philosophyl

Mayor Trantalis: Transcription of Commission Meeting, pg. 8, line 24, through pg. 9, line
2.

“We can have an intelligent discussion, which we all know what our hearts want and
what we’re trying to do to protect our community and our kids based on the recent
activity in Coral Springs. I think we all are very, very concerned about a gun show being
in our park. . . .”

Commissioner McKinzie: Transcription of Commission Meeting, pg. 10, lines 7-13.

“l guess the sense of the commission is how - what opportunity do we have to terminate
this license agreement so that we no longer have to host this at War Memorial
Auditorium.

Mayor Trantalis: 'l`ranscription of Commission Meeting, pg. 11, lines 18*21.

23. The City’s legal staff was asked to look into whether there were any grounds for

the early termination of the License Agreement and a special meeting was scheduled to take

Case O:18-cv-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 7 of 52

place the following month to debate the subjectl That follow up meeting took place on April 3,
2018.

24. Although no official decision was announced at the April 3, 2018 public meeting,
the comments made by the l\/layor and the commissioners indicated that while the City might not
go so far as to terminate the License Agreernent early out of concern that doing so might lead to
litigation, the City was unliker to offer FL Gun Sliow a new License Agreement for 2019 and
would not be honoring FL Gun Show’s future hold dates. By letter dated August 31, 2018,
without additional explanation or the identification of any cause, the City informed FL Gun
Show that it would not be entering into a 2019 license agreement with it and that FL Gun Show
would not be allowed to promote Gun Shows at the WMA beyond those identified in the License
Agreement. A true and correct copy of the August 31, 2018 letter is attached hereto as Exhibit
“3.” The City has refused to renew FL Gun Show’s License Agreement even though the City
has committed itself to hold/reserve dates for FL Gun Show through at least 2025.

25. As a political subdivision of the State of Florida, organized and operating under
the laws of the State of Florida, the City and its officials were, and are, acting under color of state
law in refusing to rent or license its publicly-owned facility to a lawful and legitimate business

26. The City’s refusal to rent its publicly-owned facility to a lawful and legitimate
business is a violation of FL Gun Show’s constitutional right to engage in commercial speech
and is violative of FL Gun Show’s right to equal protection under the law.

FIRST CAUSE OF ACTION

FOR VIOLATION OF THE RIGHT TO FREE SPEECH UNDER THE UNITED
STATES CONSTI'I`U'I`ION

27. Plaintiff incorporates by reference paragraphs l though 26 of this Corriplaint as

though fully set forth herein in their entirety.

Case O:18-cv-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 8 of 52

28. Through its promoted shows at the WMA, FL Gun Show seeks to propose a
commercial transaction that is not false, deceptive or misleading

29. FL Gun Show is attempting to engage is protected commercial speech.

30. The City’s refusal to rent its publicly~owned facility to a legal and legitimate
business does not advance any substantial or compelling state interest and subjects FL Gun Show
to the deprivation of free speech rights secured by the First Amendment to the United States
Constitution.

31. The deprivation of FL Gun Show’s free speech rights is subject to action pursuant
to 42 U.S.C.§ 1983.

WHEREFORE, Plaintiff respectfully requests the following relief:

a. A declaration that Defendant’s actions in refusing to rent its publicly-
owned facility to Plaintiff violate the First Amendment to the United
States Constitution by infringing upon Plaintiff"s right to engage in
commercial speech;

b. An order compelling the Defendant to allow Plaintiff to promote its gun
shows at the Defendant’s facility on the specific dates promised to it;

c. lssue the requested injunctive relief without a condition of bond or other
security being required of the Plaintiff;

d. That this Court award Plaintiff its costs and expenses, including its
attorneys’ fees, pursuant to 42 U.S.C. § 1988; and

e. Such other relief as the Court deems just and equitable

Case O:lS-cV-62345-FAI\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 9 of 52

SECOND CAUSE OF ACTION

FOR VIOLATION OF TI'IE RIGH'I` TO EQUAL PROTECTION UNDER THE LAW
UNDER THE UNI'I`ED STATES CONSTITUTION

32. Plaintiff incorporates by reference paragraphs l through 26 of this Complaint as if
fully set forth herein in their entirety.
33. The Fourteenth Amendment to the United States Constitution provides that no
state shall deny any person the equal protection of the laws.
34. Although FL Gun Show runs a legal and legitimate business and although the
WMA is suitable for the purpose of hosting gun shows, the City refuses to allow FL Gun Show
to use the WMA for the promotion of its gun shows.
35. The City’s refusal to permit FL Gun Show to use the WMA for its promoted guns
shows does not further any substantial or compelling state interest
36. The City’s refusal to do business with FL Gun Show while continuing to license
its publicly-owned facility to other similarly situated legal and legitimate businesses is a
violation of FL Gun Show’s right to equal protection under the law.
37. The violation of Plaintiff’s right to equal protection under the law is subject to
action pursuant to 42 U.S.C § 1983.
WI~IEREFORE, Plaintiff respectfully requests the following relief:
a. A declaration that Defendant’s actions in refusing to rent its publicly~
owned facility to Plaintiff violate the Fourteenth Amendment to the United
States Constitution by infringing upon Plaintiff’s right to equal protection
under the law;
b. An order compelling the Defendant to allow Plaintiff to promote its gun

shows at the Defendant’s facility on the specific dates promised to it;

Case O:18-cv-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 10 of 52

c. lssue the requested injunctive relief without a condition of bond or other
Security being required of the Plaintiff;
d. That this Court award f°laintiff its costs and expenses, including its
attorneys’ fees, pursuant to 42 U.S.C. § 1988; and
e. Such other relief as the Court deems just and equitable
THIRD CAUSE OF ACTION

VIOLATION OF FLORIDA STATU'I`E § 790.33 (STATE LAW CLAIM)l

38. Plaintiff incorporates by reference paragraphs l through 26 of this Complaint as if
fully set forth herein in their entirety.

39. By adopting and enforcing an anti-gun show policy at its publicly-owned facility,
the City is regulating the purchase, sale, transfer and ownership of firearms and ammunition in
violation of Florida Statute § 790.33.

40. FL Gun Show has been injured by the City’s actions in violation of Florida
Statute § 790.33, Which provides specifically in the language of the statute for injunctive relief.

WHEREFORE, Plaintiff respectfully requests the following relief:

a. A declaration that Defendant’s actions in refusing to rent its publicly-
owned facility to Plaintiff violates Florida Statute §790.33;

b. An order compelling the Defendant to allow Plaintiff to promote its gun
shows at the Defendant’s facility on the specific dates promised to it
pursuant to Florida Statute § 790.33(3)(b);

c. That this Court award Plaintiff its actual damages pursuant to Fl. Stat.

§790.33(3)(1);

 

1 Plaintiff reserves the right to amend the instant complaint to add any individual(s) who may be subject to penalties
under Fl. Stat §790.33(3)(a).

10

Case O:18-cv-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 11 of 52

d. 'l`hat this Court award l’laintil`t` its costs and expenses including its
attorneys" l"ees, pursuant to l~`|. Stat. §790.33)(3)(1`); and
e. That the Court grant such other relief as the Court deems just and
equitable under the circumstances
name september ita _.201 s.
Respccti`ully Subrnittcd.
W()OI)BURY, SANTIAGO & C()RRE()SO, F.A.
Counsel l`or l’laintifl"
F)lflt) S. Dadcland Blvd.. Suite 1702
Miami, F|'. 3315()
`l"elcphone (3()5) 670-‘)58()
i`“ly: /s/ l\/lichael l’. Woodhui"v
Michael P. Wooclbu.ry (l`~`llN 983()1)())
Robert l’. Santiago {l"l"il\" (i.lé:i(ll
YL}S.L!;J_CA_TLQ..N.
l SWE.AR under penalty of perjury that the factual allegations contained in this \/'erilicd

Complaint are true and correct to the best of my personal knowledge except where otherwise

indicated

 

 

Khaled Akawwi
Prcsident. lilorida Gun Shows. lnc.

Case O:18-cv-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 12 of 52

EXHIBIT “I”

ease o:`islé"\`/-ezs¢ia-FAl\/l Documem 1 Emered on FLSD booker 10/02/2013 Page 13 0152

CITY Ol": t'-`<’)F;ZT l_ALJDE:F-?DAL,E:

laws AW§W‘ §l

 

l.l(`l*`.;\'_"€l". .~\(illl*ll"f1\'ll'f.-\"l`. l\'.»\ll 1111[1`.1\¥{)|{!.~\|..=\l.l|ll'l`()l{ll?lll

l`tll.“i .~i\( Rl |11\'|£1\`"1. 1111111.1 1111¢1 inlech into this 11"‘ 11|;1_1_ 111 .ll l. l 21117 is |1_1;1111|
l'l-;E\\ccn 1|11_‘ t 11_\ 111 fort l. z11111cr1| 1|1:_ .~'1]1111111;1 1111111ic1p11111_\ 1'l111.11~.11r11"1. 11_\ 1111111|

l cgul 1\3;1|111': l"l,liilllM (1`|.'\` SHUWS. l\'(` 1“!.$1;1:11\1-¢")

.\111|:‘1.:-»\.: lJ-l‘) 5 UR,-\N(¢'l'f lll,{)$$():\l l'l{.-\ll.
_-\l’()l’l\ \ F`.l 327(|.5

Rc|uc~.cut.'ili\ct Mil. l\'ll.\l.l'1 ll .-\l\`l\'.\\\l

l’l1<1111::-ll)? 4§!1-1'18'.-’1] l'::\:

[:111:111: l-m=¢r` 1'1~:11!1:¢1.011¢n

l\'l`l`l\iiib`$i `,`l'l 11

\\`lll,i'll,.'\»\'» _ilu" (`1`1_\ 1111111~ 111111 ltllcl'ulcst mc `\‘»1;11 :\lcmuri;\l 1\111111111'111111 t"\\`?~l_-\"i.
loaned ;11 Xt'lfl N'.l . N"' .‘~1'111.~\'11 11`111'1 l 1111dcrtt:1!c. 1-'11_11"111;1( 11.131`1-¥: 111111

‘1\»'5 ll€lllf1\.`~`»_ 1111: i.i\:i.'n.~a‘c could lil\i: l1\ lll‘u~cnl 11 lil'N' .-\_\il) K\:l`l"l". .‘\'ll(`)W ;11 tire '1‘»'.11'
\111111~111'1;11 .\111111111‘§1.1111. ;11111 the l.is.'cli.~cc h;li ing 11111_\ dcicm‘.i:ml 1111_1 '~;1.11|111'11|11_1 111'1.\ 511.\ 1'1)r said

c\ cii[.

111 t‘-.-lisitlcr.'uirui 111`1111' mutual promises ~c1 1'111'1111 herein .md other 1._:111111 aunt \11|11.11'1|;'
consideration. 1111.~ 1.11;1:1111.11r111111` 111-c 1 ici-nscc hereby 111._11'¢¢11.~ 1111£111.\\':

|. |`hc 1,11'-._'11\1111 111111'- herein grant to 1111: licensee 11 license 111 usc 11a- '\\ ;11' \1c1nori-.1|
1\111}11111'111111 l`11rthepurpose1111"pr1;.~1e11111111.1t`l1N1-\NI} 1\'-.\"|!"[=`. SHU\\ , ;1111| 1111~1111 other
l11111'1~11 1,~'1.1 1\11:11~111~\111'. |‘cri`unnuucc~ 1111 .'~111`.11`. Xllllll`l` ]. lluiltlln;_~ access 1411111111\-11{11;.1_`1_-11 51§[»'_
ll,\`lllHlI`l.-aulfc1'11111r;11111_\_1.1151'§1'111lelll`3|'l’2

 

.3. lli-. l.. 1»2.‘11‘~¢1: 1111 '1|| p1_\ thc l lcttt.\ul' .'11111.‘11\t llc 01 [flll{'l`\‘ _'l`ll()l 5 \\ll)
l\\'(} lIIl .\-l)lll` ll l ¢"}R'l\r l)(}ll\R."i(_\`311.2.411ll||1111i111`111111111ir _\`_ \i ~`\'1\. ‘ 1»1 11111t 111~_-1

!"‘~C\ipt.~.c\cl1_1111111__1>1111..'5111.\ 11.1.'1\ 111 \1;\\1\1111¢ ~11ltLl111i11111111111litcnsc 11".1 \\111111c\c1` 1-:
1111 11;1. plus' t '1<1)\11\1_~ \\hcullicrc1111111111111¢¢pcri`¢nm.mcc sc-he 11111.'11 1111 ila ~.1111¢ 1,;;.11 11:- 411

 

c 1.111`111_111cr|11r1n.111t1~_111~.11111111111111\|1¢11111`-:1: shall tit minimal hj. \ _\.- _1"1______»}_*11 l~‘.c|ic 11_~.111\
1111111¢1!1'1§111pc't1`111111:1111.c1\1111|1c1‘.\1»c sln 111 bc m c\ptr-z.~‘t 11|1|1c l1c111~1.c 111'.ic111-1¢11.\|1 \

_ 1'\.\1 111{\<:111111111111.1111.1_11111.~2|>11»1111111;11c1|111rc1|. 111111:11:-13»1111‘ t1111\111-.~'-.1;1\1.1~1111111;
H-<v. lin 112 \cmco|1111\111111111~»\\111 1111 ~5111.'1.111-1.~111 11111.11111~‘.1111`111 gc11cr.11111-1E1.11g1 1111
1111;1;1<1§1§1\11‘11 |11'11111‘;1111111.;1.'.

.l. the l 1cc11~1.>1 1-'1‘1"1\1111111111~111\\::'1|\1:1111111~"'11111_1.1| sc1\icc |111111\1111:1111\1_ 111111111_\
11\\. 111 1_111)L1 1111-reuse ut uh.':l 1¢, 1111~1111;1111\ 111 1110 ( 113 ~ ~11'11~_ 1\['111111111_1\ 11\¢1':1111| 111111\;' \'\li.lt is
1111;111L[L11111 1111 iictlc\t lee 1111111111\1 1111 pull 1111 l\\ 111\ 1 icc me \\111111111111111c111;t15~1`1§1111'~\111;
11:‘~_11111»1.\ 111\11:11111 111.111 11111i1re 1111“~'1~1`111 111 thc l.ict'~'u~u. 111 .1¢|11111111;_ !.itcu.\uc ,\lml| 1111§-

 

' ' 14 of 52
Case O'lS-CV-62345-FAI\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 1

l11ee1111111~ lhr ;111_\- help 1111)\1111.11_1 11_1 the 11111|111111'11111 1111111:1_111~111¢111 11111| 1111 the tt.~e 111` special
eatiifnnent 111 accordance with the |:111111‘ mtd 111|111111111'111 charges set tisrth irt !§xltihit 11 which 1_~'
attached hereto and itte¢\r¢mratetl herein_ nilltin liltttffeen 1111}"~; 1111|111\1`1:1:1 l,,ic~.‘n.\'t»t":»' dispatch 111'
:111 ii111>iee therefor 111 the l,icen:;t'c

-1. `lhe lieen:=nr resumes the right 1:.\1'|111;¢'1'_11) 111 operate 1111 1111'11| 111111 drink
ec'»nuc:¢.~‘iuns within and without 11'1e 11:1||.11 111`1i\c 11\111!111.11'1`11111. l'he l.ieen.».ce shall ensure ;!t:n 1111
u\ltii11`1111‘. s11§1lieett.~1et: 1111 111;1'1~11111 51111§| utter l'11r .~:ale. gi\c 111\':1}. 111 other\\ixe 111.~[~211.11111 11r
tl:.\trilmte. 1111_\ tlrénk. 11111.'11‘;1111. candy 1111 llc-ml 111'.'111_\1 1_1'1'11‘. .11111111111_ 1111.111111‘1}. 111' naturev 1111111'1111
111‘1111'11;1[1r111':11 h_\ l_..ieert:-.t:r.

 

51 1 iecn:»ee agrees 111 11;1\ e 1111c 1|1 lit`te\:tt 1151 1111111111: i111er:ni.~'11111)11. 111' 1110 121 ten
1 1111 minute 11111:11111:»\'1`1111.< l`11r each stage per!i_irnmtn:e_ il`act_\.

 

li. 'l`f'll.‘s t~\(,`|ill'll".,\Il-ZNE` l.‘i 1\¥.-\1)|{ .'\11\’|) l1j\1"l`l‘fl¢f£l) l.\"l`() ['E’UN 'f`!ll'_f
1~`(`)1,11(`)\\’1\'(`.` l-le'lU€S.‘i (.'()\"FZNAN E'S ANI) (.'{}Nl)l`l`l()NS:

at l ieett~aec 1~:11:1|'! |1;1_'1 (_`it_\- 121`1'1)11 l 111:1.11‘1‘111111: l'111.~:ine1\;st.=1'~11 which i\ pt'eserttlt \.'§|5."1 511111.~1'
1¢1‘11'.

111 l it:ensee shall ensure that all gun 112111|111'.~1 arc 1|11|_‘1‘ iz'cen.-l;tl 111'1:;11'111 tie;tler.~..

el l it.'ett\‘ee \lta¥§ ~:11-'111'1' 111211 t 1‘1111111'.11 11111'1111‘1‘1'1 background checks 111 cnnneet.inn 111111 all gun
\.'11¢:~ put‘\'tt;tnt 111 app|it.'.'thle 11`1111'111:1 .11111| federal 1:11\'1

111 -‘111'11111_1__1 1111 111111 5111)1\ attendees ~'lt;ti| he limited 111 111.‘.~111,111;11111! \\`:11'1’\1.‘1111'1ri:11
v`\11111`1111'1`11:11 parltim¢1 arm-1111

.:1 1.1'1:1."11\'111: 11111|¥111'r11111=:e;1111l;111§ 1111 pnl`tee detail which \lta£i consist rtl`a 1111`111'11111.111 11|`5
reserve 111`111'e1‘1\1 1\ithi11 \.\`1\11--\ 1111‘;_11:111-1':11 hecttt‘it}. 11\'1101`1'11‘111'\;1111)::111111 \1'\1 \ parking
area~'. 1\\11111'1`111~1-1'~. 11 ithitz \\'\11 \ 1111 policing 111`;1:'11.'1tc 111.1:11)1111§ 1-.1|-;\‘_ ;11111 11111.l
~-1111111'\'1~.111'

1"1 l|1e 11111'1\111‘1'111`1`1.‘1.11111'¢11 1'11`111'1~1» 1111 detail .~.lmll he rea'<$it.‘,‘:.~‘\ml 11.== 111111111`11-,111:~ merit 111111
sltr¢\\ 111 \11111\ 11.1'_\1111111111| i:~ 111111e1'1 111 change 111 the 1.11-1~11~111"» hole 111_\1'reti1\z1_

111 ltiecnw.'e s|'tafl ensure that 1111 ne.-tp=rtt.- 111111.~1‘111‘1,1 \\"1\-1.\. 111l 1111 the premised 111'[111|1'11.1_\
l‘ark are ertczu;ed in 1101)r1'1‘at111111!111;; 1111`111111:11‘1! case 111 holster

111 licensee .»hall en~.tn'e that there1`.~1;11!11_~.'1`§11;11011 chuck-111 and 111~111-<11`1111 table 111 the W\-l.-'t
1111111_1. where l ieen.~et: shall ef)et:l\, 111:»11¢1:1_ se1.'111‘1" ;11'11£ 111~11[’1|1' 111111 1\ ire 111.‘.\'. all
lirearnts. 11111|.~111;1|| check. 1111\'111.-1‘1_ ;1111| secure ;1r1_1 other 1\1111111111:~. that :ttte:tdee:s ~1\1»|1 111
1111111`_1 111111 the (`11111 Shmt, l ieen<ee 1111;.1|| 1101 alien 11111'1 the 111111 Sht»\\ 11111 11111;111'11.~.' 1111
111|1er \11‘;1;11111\ than .11'11' 11111 ,<1'1 1 cured 11111| 111`.».'11§1!1~11.

i_t -\11_\ 11111'11111,-1'\11111 unloading lireurm:;111‘11111111:111' live111111111111it`11111 1111211!| |11.1111\`;1111
.11111111111i11`1111e<~nl`r-\:.ttct!.111111|1e_1‘ 11111_\ 11111 hcal|c)u.etl1`111111|11:;¢1111 14111‘11\ 111 1111: 111.\1'11~111111
1;11`11'111 1`11_'1 11E`l 1111 ¢.111111111'11_'111' police 111'1`11'»¢1‘ 1111 tlct.‘til.

11 \‘1 e.'.ipun‘. <half he irwpeeta:\l !1} .1 l1|111'i1f11111111S`l1111\1 1~1.111 111e11111s,'1'1 \\ht> ~ltal he
~ttper\ izeti l\,_\ 11 t.`rt_\' 1111-mrt l .111111.11‘11.1|1';11'1|11_'1.1111`111'1'1'1.111111:1111!, tln|j, 11|11~111111111.111`1"111_)1:1.1|
thi11 111:\1111.~1'111111. and with the 1`11‘1:;11'1111~_1 ht‘t:att'et'l and 111`.\1111!1:11_ 11111§ 1111_1 111111.-1 t\eapi»n tl:tl_\
»-eettt‘eti. \ha€l § ieen.~'ee .1!11111 .111 ;1111‘11111_'1' 111 enter the linn 511111.1 111111;¢ |ir-earns 1_11111111'1
\wtzpt\tt.

111 | 11'1111.~1-;1‘ ~11;111 11111 111111\1 _111)1 111111 \`1111\\ ;111encl1'e 111 1;:11'1'_\ 11111111'1|1.'111 11\111 111'11111'111\ 111111 1111.'
\.\ \rl.-\.

 

 

' ' 2
Case O'lS-CV-62345-FAI\/| Document 1 Entered on FLSD Doc|<et 10/02/2018 Page 15 of 5

lt |I`.'t t inn tiltu\\ z:rtvu'.lcc \\ i\‘l:c.\. tt\ haw unfit or repairs pcrli_)rmctl usi ;1 \\'cupun .'tncl thc
tciulur ncctl.~t tn rctnt\\ c thc >€ccttring \\ irc tic. l.iccn,-cc shull cn.sut'c: that thc \-'cntlur
rt':u)plic~' t!tc \\i.\'c tic land sccurc~ thc \\cztpuu made innncdi:ucl_\‘ upun completion ul`tlzc
rcp'.tili

?. in \)r'tlcr m dt'linitt:l_\ rc»cr\'c the .»pccil'lc cl:ttcs ltct'cimal'tm'»c sci tin'th. l it'c:i:\'cc
mu\'t u\'ccut».' thisl contract in duplicate and return huth cxt'cuicrl cnpic:~: in [,it;cn.»;ur ti)r nt`tiuiul
signature e\l"lhc E iccnwr. |¢.)gcll\cr \\ilh the required liccrt~'c fcc within I-`(_)UR'!` I),»\\"S_U_t
Li€i_\ ‘= nl`tur time ul` thin contract lit-posit licquircd: 51785.00. ;'\ll liccn.~.c t`c.t‘,-\‘ :trc ,\‘.m~
l<ct"uu\l;ihlc\ mcc-pt in thc c.'tz;c ul`:i [~'m't.‘c A'luicttrc' or l,iccn.~‘ut"s uncurct'l mutcr'lnl dcl";tult.

 

X `l`lttl i»ic\:n.<cc shall obtain and pu_\ |`t\r ;tn) liccn.-»L' :'cuuircd thr atlt music uutl ut|n:r
l‘L'l'lllrrztzxttcc rights ne unpust h_\ .~\.“`~t`.'\i'. li.\\llt :tntl ;m_\' and .~tll either similar léccn.wt‘:t during
l ict~nxcc`,\ ts~c vi thc |,icen.\.‘tn"é; l`;tci|ltic:~'. l`ftc l.iccnscc ~altull protect null dul`cntl ;lt l,iccnhcc`x
ic\t\t'n~:c. cut.m.-'c,i bring sttlticct m thc {`it'~_."> upprtv.;tl. .mtl imlcmnll`_\_ and hold hurml¢»'. thc
lctccu.~a<n' l`l'mn and .t linn :m_\ ::ru| all ln~;\'c.~'. pcn;iltics. t':nc.<_ \l:un:tt__'\. . suttlcntcnt\. gtu|gmcnt,\‘,
cictim,~_ cust~'. ch;u';tc_s. m§t:ltics" c:\;\cn:tt:.\‘. ur linhilitic.<_ including amy u\\urd ut`;'lttnrrtc_\ I'cc-' and
;:n_\ .tw.u'tl t»£`cn\ls_ in c.'.»nncctit)n \\ith mr ztri.\~'iug tlirct‘.tl_\ ur imiércctl_\ nut nt`;u\} intiin;¢cntcm ur
“H“l~!illli\n nl` ittliitt};t'lttcltt ul` nut music righ\s. pcr|i)rmuncc rig|n.~,. supt-right ctr may t'nln.'r
`rntt'llcczuati pl'ups:n} right itt cunnccti<\n \~.ilh thc l\iccuscc`.\~ ct vul.

     

‘P_ ,\ll l`ickci W:tlc~".-'\tlmission l~cc>; un lltc tl:t§ t)!' thc E’cr|'i)rm:n\cclsl shall l‘c m»l»;l lt,'_\
tth t it:¢:n~'i_'u' rm 't't'_\-l.-\'_~. i:t).\ ullicc ~Ia\f`i'. /\lF prict'tl tickcls amf tulntis`~iut': t`cc,< shell it\.clu\lc ;:
l"zt'ilit} l"uu t:i`$ 1 €lf`t c.it:lt. which shull int puitl to tl;c l..iccn~:ur. E.iccn.-»cc ~'I\.;rli tl<l\crzi_\'c ;tli tici\ct
Fl'it'c',\ :¢ntl ;tdntt~.\ittn |`cc_~- int‘|tl:~'i\‘c ul` \\'M;\ i`:tcilit_\ i'cc-a\ \‘\ \'l./\ shall he t:ntitlt:tl w ittqn‘t_\;_~_
F_:i.’._\.ll`ctj~§_i L?\\Inp|nncnlm'j. tickets Pt:t‘ swan or pcc'|`u:'matm~c. \\\`l\'|¢\ rcsur~,\'~' tim uglu_ ul
c ncut'.\ mla tliscrcriunt to \\'it.lt!‘.ttltl :~u:it\ li‘t\m public mtc iu ~_u'ttct' tu ~;zui~'|:\j un} patton
untl ur ct;u:pz'ncnt rclucuti-m rtcctls. lite l.iccl\.~tcc shall l`tu't:isll thc licensor in \\'ritint__\ litl| amf
cn.tcnplctt~ inibrin\tliun cuttccrning thc t_\.'pc.\ §th numbch \)1` all tickets .\ultl. t:td\;tiicu >.'alc.~: mtd
ll">' \"f'L‘\ cm sitlt:‘=t :mtl thc cataihli~‘hctl ticl\ct ;)ricc.\ ut`such tic£.'ut.\'. ;mtl shull turni::h €hc licensor
unit wp;.;_§ t\;` ;l§| mgmii`L-:us ;mtl other reports i`urnisltct! l~§. l\ic-:r)~.cc to thc internal l{c\‘cnu-_~
St:r\ icc. nfl ;t.~.' promptly us mut hc p\t\‘z:ilzlt~. ('¢\mt':litncm:n'j.'l mm prt`cc. licl~t¢t.\' wall bc limitth
tv l€§“'n vt ties uuiirc tickci rmmi!`c.~t mut .'u'c. suhjcct tv apprz\\.:tl |1_\ tl:c `\\l\l.\ rnunn;;cr, 'l'hc
l.it'crt\`¢ti' rci:sn‘..\ thc ri;.;l:t in mukt~ t|ctcrminutiun ul`tickcl rct`uud", tier c:\u:\c. in lust-plug \.\ hit inc
E.`lct:nwr`:§ j\utit'_t r\l`t'crstit\ili:_; public t`-.lltlt. `l hi.~ shall r`m'iutl\." l)tu nut he limited tt‘-_ ~~_-zu:. l\|ucl\'cd
I\_t cqui;nncnt \\hcu c't'clmnt;c t`t_\r t~-uup:\mhlc ll_\c;ninu £~ nut |»t\>sil)lt:. fitilw'c \t;" nr¢.\_icctu-n
‘~`\l"l§‘l=tuut_ l`.=iit;rc in :lct. m ~'Inm. ur its pcri`urm l-`\ititin l'cit‘~'nuul\l-c~ tunc c'tl`,~citct!ulc pr<\\ it|cti hj»

 

 

l.§c=..‘:\~'“~_

l :c‘cnw-s shull c\c£u>-i\.ul_i neill/c `\\ ?\l.\`< x:t)ltt|'ttiturizt'\l licl\ct`m=.!. '»'_\'>~tt'lti lirr the mile t'\l' :lil
itt'ltt't:~ \\'l)ct|tcl‘ I.'=t wulit'l'» [llit\nc ccntcr.\z intcrn\:i` :)t' m\)lvilc tlc\it.'t:-.. `l`ltc tltstl‘il‘.ntiun \n‘ ~atlc t.'\f`
t:s.~l\cts ;unl .itlmi.~‘sit-n !L‘c.\ tl:rnu¢____-Ei ;ui_\ t\thct'chsmucis. including tlim:uum \\'t~lt\it¢<. _\ut~i;tl nt-.,~di;t
tvtlli-.'t‘~'_ ur | n'¢n\cc's ullit,'t:~` i;» prt\|\il¢itctl s\itlwul tltc c‘\prc\'<. \\r‘iltcu t:t)n~-.'nt t‘-l thc licensing

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 16 of 52

|ff). .-\n_\' esttnt o\\ctf the licensor by the licensee !'or the use ul` \\'.\l \` t'tnt! the eo>.t otA
`tn,\ uccttttnnt.\t'l:ttit>n~~'q :=enice~t nt' tn:ttet'i;tl\‘ shull he deducted l`rtnn the ho.\ ufl"tce receipts ot`

licensee

ii. .\.~t ;t condition precedent to the effectiveness ot` this A;_’rectnent ztntl prior tit catch
etan licen.~:ce shull prt)\-'itle to the l.ieensur at certificate ttl` commercial general li;thilit_\'
ltt-\tn'nrtct: with ztn .-'\\l |¥est’\; .-=\- ruled or better insurance c¢tntp:n‘t) tttttht)t'ized to i~:)ttte in‘tttrttnec
policies in tlttl State ot` |#-`|urid;t. su|tject to ttpprn\'.tl by the l.icensor'_~' risk tnun:.t-:_:er, in nn -.nnuunt
nut less tltun `§|.tttitl`ttlltt combined .~tin§:le limit t`or bodily injury mtd prnpert_\ dutn;tge. including
ct't\ er':tge li\r prenti:;e>t:'opcl':ttion~'. product.\'.‘t‘t)ntpletetl uper.-uittns,, nonrenewal |inbilit_e_
independent cottt:'atctt)r.~»‘. '.tntl lizt|\ilit) arising nut ul"thc ittdettmil`tt:utit‘tn provisiott. ;\.»t it t't)ttdititttt
ttt'vc‘ctlcn! w the et'|`ecté\ene,~ea o£` this .»\'__'t‘eentent :tnd prior to c;tcit etent. t icc-nscc _~hull prot idc
to the t iecn\or n ccrtilie;ttc ol`%_tn_~itt.e.~..~t unto li;t[‘)ilit_\' insurance t\`stlt ten _~\;\tl liens t\- r;uetl tn'
better in~:ttr;tnee company tntthuri/ed to i.»‘.\'uc insurance pt\lieie)t in the .\'t;tte ot` t~`!ot'it'!n. subject tu
upprn\nt h_\ the | iccnsnr'~c risk nt:nttt;.:er. in ;tn utnuun% not le>;~ tltnn $E,tltttt.t‘rtttt per necurrencc
v‘\>ttti>ineti \t`n;_llc limit t`or hutli|_\ injury und property tl.tnutge. including e:)\erzt;_'e titr owned
;:ttttt\. ;tntl other \elticle'\'. hired .ttno~. und other tehicle>‘. hc:t\_\ euttipnteni. nnn~o\tnetl .toto_\ untl
other \'cltit:le~t. |he cnnimcrciu| general litthilt't_\ policy shull nature thc €`it§ ot` l"ttrt l tttulertltt[e. ;t
l"loritl;t municipality n~ nn :ttltlitionnl innttred. ln addition us ;t condition t‘)rcct:tient te the
cl`$`ceti\ette.\‘s ut` this _‘\t,'t't‘etttettt zth prior to each e\'ent` licensee shull prto idc tn the licensor at
certilicttte ot" \vt_\rl\cr.\' compensation it't,»'utunce. including ctnploj\ er's |i;thiiit_\ . \\ ith .tn ,-\M ilest'~
`\» t'.‘ttetl ttt better in-uu'enec cnntp:tttj. authorized to issue in.~'ttrttnce t)t.t|icic~t in tlte St.tte tit`
l lttritl.t. .\ttl\jet'l to \tpprtt\nl 115 tltc l,icctt:~:tn"\` ri,~lt ttt:tnttget‘, t\itlt limits not le-\t th;tn S|Ull.l!lt{t
per ;.tec'utent. $Stltl.lltttl tli~'en»'e tpt\lt'c.} |ttttitt. and Sltlt\.ttttt'i tii§e.‘tsc teach employ-eeg in
et'=nipti;tnce \\ith ult' >tttte unit t`etlcr:ti |;tt\.<. [ iccnsee slnttl provide le the tice-rnur et letter thirty
t `\t lt tl.-t_\_< \.tritten notice h_t registered or c~:rtilietf t'n.ti§. return receipt t'ct|tte.>‘tc<l. .ultlre:e»eti to thc
\\ \l ‘\ ot:.nt:teer. prior to cuneeilution or modification ot`:tn_\ rcunircd in:.ur:tnec. (`it§ renew es
the rtgltt to udju\‘t the itr.ttt‘unce cotet"ug_'e retntirentcnts\ ttepen;_tint_» upon the rick ut` t¢_t\_~t :tntt
e\'po\-ure to Ei.zhilit_\.

'tll required insurance policies ~“Itztll t‘n\'er :tl| tthm\ set-tsp. mm e»in and more-tmt
t}n_\ ~.
ll \`ot inter tlt:\n ~teteu tTt ti`t_t:~ lzet`ore the t'n\'t tito ot` the e\em the l ieen~'cc vlt;t!l
ltn'ni\lt tltc l i\.'eu~ur rt list ol"the pcrlitr:ttct.~. groups ;tntl'or :tt:tt\r< thin \tili lie ewing \\`Ttl_-\ in nut

~t.'tt::ctl_ t|tt';ttt'i\:;tl_ or concert pert`t.)nnttuce.

l§ llte |icen~'ee ~ilt;tll t'cinthtzt'~ie tlte licensor ulf tc:t.~tott.thlc :tdth`tion;si e~<pcn:~'c~
int.‘ttt‘t‘etl Et_t the l ieen_~,or t`or :ttnl nn l)t.“i'tult` -.tl` the l.icen,~ee‘\‘t e\ent. .\`er\lee~ end personnel
tutttntctl aunt e\pen.~'e~; incurred l'\} \'\"tl_\ .<|t.'tll he limited to tlnt~c \thieh ttt'e_ in the £.tt.en‘it)r'<
opinion es.\cnti:tl. l\ettc|§ci.tl .'mtf nornntl|j-. required ol' ;t licensee during ltv occupancy oi` the
_t\tttlttttrttnn \li chtn‘;_-c.\ ttill he ltt'tni/etl on the | ieen.»or`~~ litt;tl statement tt!t.‘:t pt'c>:entcd to
the liecn\ec t`or pu_'.metn. lieett~ttt ,~|tul¥ pt'it'\'itlc tinttl .»t:ncnscnt une| conduct the lin:tl
\t.'ttletnt:nt oath l teen»'ee the lir.~'at l\u,\‘ine.~'~n tiu_t i`ol[ot\‘itn,E the trlo\»in;.z per!`t\rnt;ntce t|:t»\ ot` the
e\t:t:t .\ll \c:‘tiec‘~ tire ~ul§nect to win percent l"|~')rldu \‘;lie\- t‘\\_ indem le\-ec is t\t\ exempt

[tttt':»n:mt to l'lttt'i<l.t ltt'\t.

 

Case 0`:"1“8`-"6i7-623A5"-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 17 of 52

l~i`. .-\tt_\ and till riders ntiuchetl to this .-'\grcentent hect»ute part ut'iltis .‘\gr'eenienL it ith
the stone |`orce :un| e!`i`cct us though written into the |'\od_i thcrcol'.

li. the licensee sh:t|i coinpl_t iiith ;tl| inns ot' the i`uitetl ,.`\.‘titte.s. the laws ot'tlie St;tte ot`
l"'|tit'it|i.t. inch:ding but not limited to the |~`ioridu llu`tiding (`t_ide and the i'lorid'.i l"ire |’t'e\entiot't
(’ode. t ii ordinances itt`t!ie (.`ii,\f t.ii` lion l,itttdertf;ile. and till rules and rc\tttirenicnf~‘ ot` the |‘nliec
.tiiti l"irc l)ep.~trtmeut\ ;tnd other municipal ztttllioritieS ol` the (.`it_\ ot` |"ori l .'nt\lerditie. :tntf .~.tlt:ll|
not ilo. nor ;i|liitt iii he done. un_ititin_t; on said premises during the tertii oi' this license
t\;;rcetnent. itt \-ioi.ttion ot`tu\_\ such l;t\\\;. ordiuiinces. rtile:» or redttirentcin:i. nod it`ttic lattention
ot` .~,:tid f,,ieen~`ee is c.tlted to tu\_i .~ttch titil;ttion nn the part ot` ~;oid l.iceei.~tee. or ol ;tu_\ person
ctnplo§ ed in or admitted to the said premises h)-' '_~‘:tid l.icen.\ee. such I.icen:tee sh:til immediately
dc.~ti.<-l |`rotn .tnd correct the \-'it.\i.itiotL licensee shitii obtain and pay fin ali necessary permits end
licctt.\:e.-: l.i'een.~:ee shull tthide h_\-‘ till ruic> und regulations promulgated hit the licensor in re\__';irtl
to the use ot`the \'t'zn' ;\tentiit'i:t| d\ut.liti.\rititn auditor llolid:i_\ t*:trl~..

|ii, licensor .i‘lntil retain the right to cutt>~c the interruption ol`iin)‘ performancev or ct ent.
;in\i iii¢e\\.i.\'c to cutt:~e the tct'tniii.ition oi` lsuch pcr|itrni;tnce. or e\eltt. when in the judgment ol'
\\`:\l.\ i\|.tn;t;;cntcnt. .~:tt.ch action i.-i :iece_~.i;;tr§ in the iniere>t,~: i)t`ptth|ie snt`et§. ."ihouid it heci):tte
neces\ur_i. in the judgment ot` \\i‘:\!`-\ =\~ttui;igi.'.meni. to e\;tciiute the premises because oi` .nt
etttc:';_:t'tic)'. or t`or other rcuhonn ot` pnhlic sztl`et_i'. the licensee .~‘lt:tti t‘ctttiit u-e ut`ttie prerni.~e-i t`or
~.tit'tieicnt time to cotnpictc prt.~sent:itio:i ot" itx atctii it_\ '\i'ithotit itdtlitionit| e|inr;_ie pro\ idint`_t such
tinie does not intert'ere with another licensees usc ot` the huiltling_ [t" it ii not ptv‘\sibte to
complete preventitt`ion o|` the ;icti\it_'-. the |icen~ie |`ee shall he tiu'ieitetl. prttt~;iled_ or tttliti.~.tct‘§ at
the discretion oi' the l iccu<or ii.i_\“etl upon the ~t'tutttion: acid the licensee herein ti;tite:i ‘.tn_\
i-_tniut t'or d.iitt;tge)i or coin;ten.-:ttion t`rotii the I_:`cen.~tor. l_iecri.-iot' re~tet‘\e< the right to iii.tke such
titntt.-nocemein\` :t.\ ore deemed necessary ;it nn_t time in the iiitcrc~t ot` ptthlic .<:it`et)i l.tcett,~'ce
tinrcc:i th.tt n oili cooperate \\‘ith the tlclitert ot`ittch truittntnci_-tneut.~.l |`or public \.tt`cl_i` including
inn riot limited to ;sntiotntccnierit» tt\ require _t'i.ttrott.~, to return to thcit ~tcitts or le enter tit lent c the

[`T&'iiii'*k.'\

t '1" Htiott|tl the l icen$ee cancel the c\ctit entered under this -\eteetnent :tnd itt the e\ent
thin tlie \\}\1.\ t::uttiot t\c licensed othcr\\i:\e on ii'iut d:tte. the tlepo\i`it itntottni ~iinil he forfeited iii
llti.‘ licensee ;tnd the ninottnt applied to the l`ull basic lice:txe icc ~litiii itc p:t_\‘.ii\ic lift the l ieeu.iee
tit the l.iceu,or nrc !iquid:_netl tl;iiittt;;e-. not :t> pcii;ilt_\'. unti [ icen,.ee ituree.~. ;tt_~'o to text '.tni other
'~"i`;\€it~cn incurred itt tire l.icert.-or in ci_ttinection \tith lite eicnt covered ii_t the :\gi't?etiiei)t.

lN l`l\e l icet‘nit\r re\cr\es the right to c'.tnccl thin .\;;t't'ciiicttt lirr good c;tu\e. lit the
c\eiit tiie l,tc-ettzitir t:\t‘t'ci>t'i; it:\; ri\__~ht. it ~‘-h;tll rel`ttntl to the i,iccnr.ee uni li:t:~ic |ieen\ic t'~_'e p:tid to

the l iccnio:'.

itt .*'iitt'~iild the l..icctniec dct`;tt:!t in the pert`ot‘s‘ttttttce ot` nn__i. ot the tcrin'\ or rot':tiiziiin~ ot`
thin .`toirz'cumetn. the l,iccn~tor tit its option tuti_i terminate the ~::nne ;tntl the licen~‘ce e|i.itl tie
ii:ti\le i`iu' the t`ti§l .ultottttt t>i` the lt\i\ie ii'cen:-c t`ec in‘o\itleti l`tn' |tercin, lc‘-:~ the liccii~'\e l`ec.~\

i'ceei\cd li'i\n't Eithcr\ t'oi' use ot` thc nemi»e~' tit the tint=.l or tiitte.'; iiccilied iii thi\‘l -‘\etceutctit
l .

Case O:lS-CV-62345-FAI\/| Document 1 Entered on FLSD D'oc"ké`t 10102/2018 Page 18 of 52

.-'\n_\ deposit m:ttle 11_\ lite I.icen.\.ee to the [.it‘enxur. itmse\'er. .~'[t;rll‘ t:pt\n tlel`;tult. he remitted b}
the l.iueusur lirr liquidated damaged u,~: un ul`|`set tv expenses incurret|_ and nut ax ;t penalty

_"U lite l,icert>ee shull nut iu_it_tre. tier ttt;lr. nt\r in uu_\f nimmer clL‘l`uee the WMA. unit
sltui| nut t.'uuse ur permit itt lie tlri\e;i stull.~‘. |n\ol<s_ hicks t\r sere\\.~‘ into tm_r part t'»t`s:titi prerm`,\e-~_
:tru.l \\'i|f utu muk-e. ut')t':tflo\r t<.) he made tsn'\ ultertuiuus nt`us)_\-' kind therein

21. in lite e‘.ent the premises -'_>r ;m_\ portion ol" the \\'M_»\ er iL-; eqt:i;\rr;eui. during the
term t)f` tlti\: license ."tgreement i.\; Ll:uuu;__ied l‘)} the uet. tle|`t:tzit. t\r negligence r\i`tlte |.ieen;~tee \'tz~
;tn_\' ut`tlte l icen.~.‘ee`.~‘» :r;:ent-‘. emplr_\)'ee~.. ~'ul)etmtrttclnrs. e\hibiturs. ;:ttent]ee~' ttr gue.\t.~'_ licensee
ilr.t!l prm'ii;\tl} [r;tj- tr) licensor .».ueh sum u:t shall lie neee:,s:trj»' m restore said prerni»=e»' w their
et»tnlitiuts ;:z tile time \)!` the enmmerzeemem \)t`tltih !,ieen:at: .~'\'__-rcemen£.

we l ier:n\:ee .iutlturi/e~' l ieen.-'ur tn arrange l`ur unit lime mt duty at ull tleee.~‘>.;tr) time»
>tit]ieiez\z Pu|iee !i)ree` ns determined |1_\ t"il). tit nmirttuin order amf prt,\leet perm-m umi
prt»pert_\_ \\i:h the e\'prer;s ttm!er\‘tumling titan i.it‘euxee. in final vett|crtteru. ~inlll p;x_x fur such
\ertiee.- ssi weir police three l pen request i`mm [ieen,~ttr. l ieer:.~.ee .~:lt.'tll imme<li;itelj\ rea:s>i'__-r.
.rr remut-e t'rt»tu the lj\eut tm_\ u!` itc et:i;\|n_\ee,< err perimnnel. including .xuj, super\'i.~,'\_u')
per*~'¢_ume¥. \\l\r_=. in the sole judgment ut` l.icensur. engage in imprt.»per etmt.|uett ur ure net
wtiter\si.~`e. iri size re.l:tt»n.il\ie judgment t\l`l icertsm‘. suitable ur neee;)tuble l.u perl`unu their tiutie_\
».-:' \tu_\ t.-i.~'k.> .t.~'\i~`_\net! to client | ieet).~;ee auttl it;~’ employ ee-;. personnel unit :t;_'eut'\ >‘l\,tli -_'uulpl_\
with .,mtl ettttl`tu‘m itt ali rule-_ reeul.uiattz\‘ tuttl tlirecti\es i‘tsuetf l)} I.ieen~ur trr it> t.e.~;iguee~t from
time tv time

3`). lth l.i'relt.~‘»t‘t* will permit nn clt::ir. nm\ttl'vle seut. ur other ult-;truc'.iurt_ tr= l\e ur
remain in the l\;i'~»<;:g_'e'.\::_\ ~'. '.imé \\ ill keep ~'.'iitl |)ti;~\ztge'\\-;r} ~' eleu:' ass .tll time~t liie l it:ett:see »l‘.;tli
t€~"t tw!'uiit the etsitzmee t.lunr\~ tv lie limited during un_\ period when she pul)lie i\‘ ::ii\»\tetl ime the

\-`tut.iitr\riiuu\

`F.~l, l`lie § ieen,\'e'e shall utu |`tc‘».~.t t>r e\‘izil‘it. rtr\r :tll¢\\\ itt l\e pto~',tetl er exitiiutetl. >i-:'_n.\.
.ttir erti`.ez“nem<e \itt'\\\tvil|~'. iitht»gr:q\ii,\, pt)\ter.» -\r eurd\\‘ ut`nrr) cle-at'ription. in.~itie \>r itt l'rt)n\. er
mt cu'\_\ pur't t)i'.~';u\.l huildiug. except upon the regular l'¢illhu:tr¢i.~' pm\':`ttetf unti mr authorized |_\_\ the
i,ieeti.\'ur therefore nmi viii une_ pt\.\'t u:' exhibit un|_\ ~;uelr \i'¢_'tts. utl\erti.»ement.\g \hn\.xl'titi~'.
ltll¥t>':.'t'.t§tii\. im.-‘ter-\ rsr t.`;:r-.l:~ upim ~mi¢l hi|lhtt:trtl,- ;t.\ relate itt the {\erlitrzttame-e er exhibit tlt::t ix
the .\‘ttlet‘t't ¢tt`tliix l.teet\>e .-\et'eeriier\t. l t.mlretz l,ieerh-ee shull nut post .u\jt ~:ig;n-t iu \it»l:ititu\, r\t`
.ut\ n|` lite t"it_\`.~' ur'tliu.trsee.\. F'n\tiu§ <tt' >i~r‘~ iu \‘it»iu§ittn ut`.tn_\ t\t'tlt.e i.'it}`s t!:'tlintmee_< mu_\
t‘t'\tiit itt `t!tttt)s.'tl§.cle tet`fctiltutitm t):`tlti\‘ \gt'ectltettt .tntl t\t` the ex erzt i'\‘\ €"ii_-t_ § teeli~.ee shall i\e

~__»t\eu :‘etisutt;lhle opportunity irs rert\etl_\ utt} :~'u'eit tic|`utttt ur breach

.fy'» lite l teet\.~ee shall nut .-ulmu iv the \\ \l.\ .'t larger number tzi`iier>.m>t tti:tu lite le~__';ti
\':.t|tzlc`u; tl\ereut`\\zli .~teer)t’.mir)\l;zte r)r crm ~':llel'~.' -.u' |`ree|_\‘ mine ;tl\uuz iit -.is`ti lies .-ct| .'tr'e..t.»;. null
the tleei~.it')u ¢>E` tire ‘-\ .\lt\ munn-element itt tlti~l t'e:tjteet ~!rull he tiim|. l`hi~ pru\'i\'iru: t¢_m\lie.~ tt) tmi

1_\- gte e\ eluo \|u »\» mr ;wl'ti\rmuztee

 

2(1, lite t' icezi-ur -tl\.‘tll lt;t\e the mile t'i_t_,'.lll in eullt'c‘t :tmi lt;t\e eu.\\'tt'-tl_\ t_)|` :t."tiei-.',\ le|'t itt
the building h_\ persmz> ultentliate ;sn) {\ert`t\rmunet_~_ e\|:itriti~\u t>r eutert;'rium~.'nt guerr- .ir lie|t.t :u

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 19 of 52

the \\"i\.'l.¢\. and the l.ieen.~»'eet or an_\-' persons in l.icen:»‘ee`\‘ emplo_\_ shall not et)l[eet nor ittzert`ere
\\itlt the etiileetitnt or custody nt' such article,~:. Nnt\-\irh_\‘tanding the liirer_'e)ing. l.ieen~<or shall
tttttil'_\ licensee ol'an_\` equipment or atrtt'ele>' inatl\'ertt.:nti}»l lel't art the facility h_\{ licensee and
pmi ide l iet'tt»t'e' \titli a reasonable op[wrlnnit_\ to remote same prior to remn\'a| or disposal in
l.ie.en.-or.

_"r`. lite l.ieen.~t)r reserved the right to remote t`rnnt the building .:nd`or the appurtenant
grounds all l.ieen.xee'.»; eli`et'ts remaining in the building antl'nr the appurtenant gt'.ntnd\ alter
t».'t'tttttt;tti-.ttt time _~peeitied at tlte expense t)|`[.it:en::ee and to eh.'u'g_je licensee '__m___!§t_ per da_t l`t)r
cite time utter tire termination date specified herein tin' an_\ property remaining in the building
and 'ur on lite appi_irtenarn grntntt.la. provided ltt>t\e\er. in the e\cnt e\i`a lorce t\'!aieere, licensee
shall hat e a rt.~a<aonah|e period o|`titnc at nn e.\;ten:;e.

 

EH. `l` he authorized represent:tti\e.~: nt`t|te l.ieen.~:or rnn_\' enter the ‘Jt';\it\ building and all
ttl` the appurtenant grounds and premises. t'ne|ttdin_-_el an_t outside >tt'nen.ir-e. teru. er t`i.\tnre. at ariz
§inte.

fill .-\ltsent the et\pre_~as. \\i~inen appro\a| ot` the L` try ol` tort lauderdale lite .’tlar>liai,

l ieen>.'ee ~ltail not ereet or t.iper:tte att_\ engine motor or tnttt'liiuet'} on the premise>;. »|t.tlt not tr.\e
oit. burning tlnids. e.~unpl.ene. l-tero.~ene. nar)!ttita. ~'oltent§ r=r ga\m|t`ne i`or meelt;init.'ai or other
t"-l=‘(*t\~se. .znd thali not n_\e ant agent other t|tan eleetrieit} t`or illuminating the premi»e-t_ t

i iven-cce <fiall drain the titel tanks ot`uu_t and .‘til equipnt.:nt` antoma)hiie\.'_ lmat.\ or other
l.‘t‘L'»' ot` tti.\pla_\ oiierein a f’tte| tank is attached ineludin»=_l attriliar_'t !`uel tanit.\ and onth:~;trd
trailers prior to bringing am cit'.\t,tr:|t eqttit.nneut into the \'\ .\-l.-\. -"Lt> hire nl` tnt-l diall he placed
in any t't:e| tanls~' until any and all equir.\ntent, :nu-;nn-.»hile\,. boats or other t_\t\e‘~ ot'di:tpla_t ita\e

ltt'ett ;\i;teed ont»-'ide lite |'»ttildin;t

itieen.~ee .titthorire-. l.ieen.\\"n to arrange fur ault hare nn tlttt_\ at ali ite»te~.>ar_\ tinte.\:
\'ut`licient |`ire-l{e\eti-.: lJepartntent per~'t)nttelt .t\ detern'ntted ii} (`it,\'V to protect persons and
t*"“t‘r!'t_\. unit tire e.\pre»~ understanding that t ieet\.~ee in tinal \ettientent. \tix:tll ;\aj. lirr ~n\h

~et'\ iee;~‘ t)i`~».n.'h t ire l)epartntent gwrsonnei.

.i‘l, itt au} legal action tit collect any t'ee\‘. charges or expenses -.|tte titan lit'en.\ee
lte:‘eta'idet'. the ltit.'t.'n\~:ee agri-ex to na} to l,ieen:to: l ieert~or`.~ r:.'a>on:th|e attor:te) t`ee= and ».:o~t,~.

 

"`l. llttl l ie\.'n~ee <Etttil tzr)t tt\~.i:_'n. tt:tn`\i`er‘ or stt|‘|';een:.'e tl\tw' ltteetl.~e »\; eente!‘.t or :mj.
part thereo!. nor \t:llet‘ »»r permit atty t:.~e ot` ~.tid prenti.\e~ other than an herein \‘peeitied. mir
.~ttlfltee:t:»e the t\tetni<e\t or ;in_\ pzn'l thereoi'. \.\itltout tire prior written et.\n-ent ~'\t`tiie l tt:t'tt>titt‘.

t| iran wald i\tttlditi-__i. or grottnd~‘_ without

  

\'tt i:o;~e» or writer animals ~‘!t.tli lie linn
the tuition ettn~ent or lieen\»‘in'. and then under \=ueh reetti.nion~; aa tnttj. l~e marie l\_t the

l ieen>'¢)t'

 

 

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018

t `

` .
llnt‘l't'n` the numbert\t'indi\'idu;t|x that earn safety mate about in said liter-ned area.t. t`|te det:`t»'t.tn
t\|`tlte l ieen~.'ttr in tht`.~t reapeet. shall he t"tn:t|¢

F-l t\ll deenrati\e material nntsi he tinine~pi~rtnt` ltel't)re the same t\ili be all:t\t'ed itt the
l“\ttilt'!intr
_`t.ii .-\l`ter annaelting all lttt\es. eartt=n.~=. ete.. |.ieen.\‘ee shall p|;tee all lt)tt~'e p.'tel\ini_.l

n‘=a!erial. pattern elt‘.. in huxex ttr t'tther ertl'ttttiners. and i.ieen.~=ee shall ntnte each hines Lmd
ettniait‘ter.~t let .t ett`e place litr stt)r;age. ;t.~. the l.ieen~.ttr tlireets.

`.~tt. ln the e\em the .~;tid t`:tet`lit_\. t)r an} part Elter‘rtt`. is de~:trn_\ed l\js tire nt‘ an_\ nther
'e:ztt~‘e. ttr it` ;tr:_t_' other eavttah_t t)r nntitre:teen t.\t.'t:nrrence shal! render the litllillntern nt` this
f.t`eett~.e .\ereetnenl |\_\ the liecttattr intpu.\t\‘ihle t"'l~'aree l\.‘!zt_ieure",t` then and thereupon llti»
l.tt:ett.-'e iv\greentern shall tenninale. and the licensee shall pat the ;trtt r;n.t ptn~tititt ttt`the tieen.~e

t`ee t`ttr tt.\e nt` said premises tti the time t)t' .\:ueh tea‘:ttin;ni-;\n. plus an_\' tillter duetnnt‘nted nat tit`

pttettet e\r\en\e~ incurred itt l,ieen~'ur \\hieh are due l ieen>'ttr under .‘~§eetit‘-n l.`t ai;\ttte. and nn_\
atttttnnt,~` \.\hieh tire due tt't l ieen~ctn' in iteettrd;tnee \\itit heeti=nt.~t .`; and ft .'tl‘.rt\'e E:tt`ter taking mut
:t<`e<ttmt an§ retttnd>t t\ltieh m;t§- he daei.

fiT. lhe | .Eeen.\'ttr ;~'ltnll nttt he rt,‘,-‘ptm.~tih|e t`ttr any tittltt;tee ctr iniui'§. llt:tt ina_t happen tit
l'|tt: l ieenset.\ t\r tn the l.ieen»tee`~' tt\=:enis. .\‘t.'rt-'an§.~:. etnplt)_\ee~t` ttt.'tt)r:a. testtlt)r>‘. tn" ;1t'tttteri,\ t`rttttt
»mj= L`:zt,z‘~'t: \\lt:l[r;tte\er, p:'itti; during m' subsequent lt? fl'tt~` ['terittd entered l\} llti§ i.ii_`t.‘ll\a'
'\t`;reetnetn. tutd the luieen.~,'ee hereh_\ rele:'tse.\' the l.ieen~nr t`rnm and a;_n‘ee'~' tv indennnt`_\ the
l.t'een::t\r ;t;.:airz;\'i el.ti:tt~* i`ttr :eut'h ltt_~.~'. damage t.)r inittrj.,

thel l.t`een-'ee shall ltrt\teet and defend ar the l`ieett.~.ee'.~ e.\pen`e. ettnt:~:el being
~uh_ieet in the l.ieen.\'t=r'.\. .'tp;)rt)\;tl. and indentnil:\ and land ttart'n!e,» the l_i'een»t't=r and the
l ie't‘tt»t)r'\ ttt`.iit:er»_ empht_tees. t‘ttlnttteer.\._ and tt\__-ent.\ t`rtttn and aeat`tt.~.t losses penaltie<. line='.
d‘nna_~`_'e.<. \ettleznet \i. _judgment,\'_ e|aim::. et\.~‘;~. eharye.~.. exnett_<e_~;, ttr h.il!ilitie_\:_ including .tn_t
.t\'.:.t:'d ttt'tnznrnt;\ ti - and :tn} a\\,ird ttt'ctt;~ts. in ertatneeticttt ttith urarist`ne direetl_\ t-r intlr`re».tl).
inn ttt` the lieennee‘-, use stl` the \\:tr =\le:nt':tria| t\ttdit»'n‘ittnt and appurtenant ;_'tttnnti\. t)r in
t“t\itttet:it»-:t t\ith t\t' .n't=.in;_l directly or irtdireetl_'_t can nt':tn_t act nr nmi~st`t\tt ttl` the I.ieen»ee er t-|
atty t'»t`|ieer. etnpl:tjtee. .t~`_'ertt, invitee e\;ltihitt')i" .~:n|~iet.attraentr` t'\r ~tthlieen~t'ee t»t`zl‘te licensee

   

=,H | he |_i'eett\‘ee ~‘hall eunice that -.ttl`t`teient t`tre. enter;;ein'_\ medical -~ itt iee:\. and
pnliee per~t:nttei. and pitt'l\itn_~l ;ttlend:tnt- are utz dut) the entire number tildaj-\ lite e\ent iv open
E=i the ttnhlie l|te ;ntliee and parking attendant-t are engaged and \ehedttled itt the i teen~.nr.
intl the e\i\ett\e tl:eret-l`i\ an itl,tli_~_;tnit.\tt nt't|te i ieen>ee and paid ttir l\_\ the i ieeu:lee

.`»‘t the § ieettxee' \halt ensure thin nn ear t)r trttek remain nn the »\ttditttrtnnt ;_»rttttttd.~.
t;_et‘:t:~~'t ‘_ttiiat‘ent !r» the httildini:t. t-ther titan the time required tit nnltt.ttl .'tn-.l l.tai|_ \ti teitiete-;
rttn-.t he ;i:ul.e;i itt tltt.l \ndilnrittnt`~ parking ittt~.

~li-‘. in lite e'-~..'nt the l,ieenh.:e tti.~'lze.\‘ tit eu~'aee the \t'ri'iee ttt` ante -ti inure \‘t.'eliri€‘.
t- e .

g-‘.=.t\:.tt\t` ~.tid \-etti \e ~'Etal| he arranged |\_'. the l ieenattr ina paid t`nr h\ the l teen~ee itt the

l`lte licensee agrees that at nn time ttil| the ticket sales exceed the seating eapaeit)'

Page 20 of 52

Case O:lS-CV-62345-FAI\/| Document 1 Entered on FLSD"D"OCl<et 10/02/2018 Page 21 of 52

l.iccrmn' :il final sutilv.'mcnt. `l'hi.~s security guard shall hi: l`\'\r inside \)nc'.l."ur outside nsc. .\':ti\l
security guard sii:i|l ha nn illn>' l`rr.)m .'tt |c:t.‘.‘t l(t:l}f} pin until .‘¥:t‘ln inn during the t'nll period u|`
time displays-g icxliihits. nicrch;indisi:. i.'tc. nz'\.~ un thc <__:rmmi£.~z. /“m} additional indoor sccurit)
gu::rtl. il` ncc<l\;d. .»;hnll he Si;lcctud by thc l.t'ccnsnr. Nztid intlnnr securit_z guard .~ah:ilf mn
his nllmti'if ¢_lurin-__' |ii.~"licr scheduictl Shil`t to l raw the building m impact exhibits \\liicii nm,\' bc
nn inc grunml:< i\t`tiic .-\inlinn'itnn. llc or she ntn;;t remain iii tltLl hullilin_t; itt nil timcs. l{\ cry
cl`l`c>t'! lt;'» protect thc tlisplai_\ ‘;. '.‘.\'ltil'iits. nu.-rch.incli . utu shall bc m.nh: by thc said security gtt.'n‘d.
`i’ltc (fit_\ shall nut ha hold linth |`nr l\).s.~; l\_\' thcl`t. dunnth or tii);;:ppunruncc itfilispl:i_\>;. cxlnhits_
ritct'c!i;itiilist'. utu t`rum the building nmi/or grounded c\;ccpt to the c\e¢:nl than such ft)::s. tl:ui't i-r
clarungc is causal ivy ih¢ negligent nr \x't'(>tt;__'l\tl :tct or nmi-dion \)l'tnt)-‘ nr" l,iui:n.\‘<‘\r`> c:np|u_\ccs
while acting \\it§iin the scope nl` their umplu_vmcnl. ¢tnil subject m lieu limitations ol` Sccli\>n
Thl~l..",i€_ l"i¢lri¢l.i $t:::iiii‘\ fittl iii ;c~< nt.'i_\ itu `nncrnlctl nr rc\ i\cii I`r-nn time nt lirne.

 

-ll. l'ltc E.i-.:cn\'cc ~'h;iil require all u.\'hlhitt)r§ :tml \nhlic~:n.\cc;~' tt) ¥:t) pnl_\sthylcatc. no
lu-.~. than n inil» tliicl\. on the llit¢._ir r,>f` tltc .-\n\lit\n’inm i_h<\ritl:s? prior tit the itist;:ll:ttirm w tln:
l\t}it':g t'»l` :tn} bnih.ling hh)rk,~. grn.\;~‘. cunnrutc. l'cnccs. ur nn_t material requiring cctncnt. in\t:‘t.~ir_
-<.itiil. air tlirt. `! irc l iccnsci: ~:lt::ll ensure thin mt n:n`l\' tire \lriicn into :inj\' portion nl` the tlimrs.
\\;tll\ \tr u\)u-\In\¢zk willie .\uilitnrinnt

-ll. lhc tt~'c ui' upon clip ~;cicl\ui:;. ltnt:r~'. lump coral wire. cli.iplc\ ur tripli:\ :nt.:n;lnncin
i1iitg‘~ in exiiihiz~ i\ pi‘s)ltil»itml. -\n§ nmi '.i|l clcctric;z.f i.'nril\' _~,Ei;i|l ltc ivi` tlic lln't:¢ \-.irc. §ruun\lui.l

t_\-}w.
~l.i. \li .'ti.\-lu \\ itlllls ntn:~‘l ct\itipl§ \\ ith l~`irc .\‘i;n'ih:\.l indus nr t‘t.'gill;tlii'iti~..

»i-l»_ t,}tt:zlil`tc\.i rupt'i:.~acnt;tti\uf$ n!` lite l.ic:t;n->t:\: ~‘|t;tli idc mm \.|trz`\ in t§i\.' l.\'titl'i_\' <il` llic
-\iltlilt‘l'iflltt <*tt»‘ l` ii hour prior ni thc npvnin;,' r)l` tlic dut=r~ li‘sr ;nlinitt:ntc\' =\i`iln.' general p:fl~»lic,
linl l`i§:.n-`t in:~itlt‘ \i,ni§tvrt'in:n lui'il)_\ \l\nir:;, t)r ..ni_t arthur c\'iz~.. shall nut bc ls\t;l\ml iii \:.tlicr\\i.~i'
i';;:<ti:i\cd i|nritn_,r thc I\.-r¢n ul'!.lit: l,iccn-'t;c`>: cnmrnct. except Ii)r xu¢nrii} rcn.\‘i»n\_ .nnl then nnl_\ i~._~.
authorized 't\. -\-! -`\. .:inpln_\ue_\'.

-H. l'h£.~ E.i-;¢nsc \;_»ri.‘cmcni '~'h.tl] liu gn'\`cmcii hj\ ill-s l:m=: nt' the \`t:isu itt` i*tnriilzi.
\'V\‘i‘iw l».-t' :in} iam ~nii lit either pnrt_\ ;r§_»nin%~'t thc other pnrt_\. ctr utlicr\‘ti~c .:ri.\nz;_j nut itt ihi>
.»\j;rccinc.'tt. ;nnl l`<_tr .tn_\ inltcr lc§_~::zi pr.~t:cctlini_-. \;l‘.n|| inc in l¥ri~.\\;n'tl (,`unni_\-_ l'l\-ritin` mr in tln.'
stern ut` l?.-ilt::';il inri~tlictmt'¢. in lite .\`c~ntltcrn l)i.»'trici ul'l'li\ridn.

40 llv'ctlm"~' v|t<'tll nut L€i>criniin.nu in ;tn} \1|` it~ :n:ti‘.itic>; t'cln!i.'<.l iu tlii~ |it.'cn.s-u
vczn\:nl .i;`::iir~i~t .'n:} pi.-r>un nn cite i_\usi~= u|'rncc, c\)l:\l. gurnlurr national i-:'igin` rc|ig_=tun. nga

 

tii»:livilitj\ . mr in;zrz`t».:! »i;nn.~,

¢lT'. in thc L~'- vnl :mj. pnr‘.t;_'r‘t|\li. ‘-;cctmn. .~\'ntcn~;u. \-i claude iii this l wcii-;t: _\-__'rccntunt tv
?.\ul'.l in d court tit cuttinvt'.‘nt jurisdiction ta) ho in\::li\l. i|l¢;_‘.ilh -.vi‘ intcnt`\>rcc;siilc. inch holding
w'lt.ll| not .ill`cct the rcm;iincli:e i)t` tlti.~l l it":ii.~c \_;'rt‘cmcnt. t\in".:li shall r-.'nntin in ltle juice mm

ii ! 'l`;t.' l.

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docl<et 10/02/2018 Page 22 of 52

~1.\'. 'i'iti.~: ¢\;¢rectnent is subordinate n) :ni_\' emergency use ninth-d pursuant to Sceziun
23143. l‘li)rtd;i .*\`l.'ttutc.~' t.j!ll_i 1. us mut he amended ur reriscd_ mr pnei\nnnt to any ::pplicnble
cmcrgenc_\‘ niunngccm'nt pri)grnrn \»r plun,

-l\J, lite i__iceti)»cc'\ use nf` thc \.\".'tr :\lctnnri;il .~'\uditt.trinm i). nut int interest in real

t'tt‘t lpct‘t`\`

itt l iccn,\ec slt;tli'

;tt l\eep and maintain public records t.lt;tt ordinarily and neces\‘;trii_t would lie
required ins the {`itj¢ in order m |~i¢rf`rn-m thi; y.L-rt [¢i_-

tht Pm\.t`dc the public \\ith access tn public records nn the same terms .'in\i
\.‘¢dnclition\. :h;n the (`it_\' \mnld pritcit.fc thc records and .'tt rt cost lh.tt dues nut c\eee\l thc
cust pan ided itt (`itnplct' l l‘l. f |urid.i l\`t:nutc>‘ t:fll"i l. ns may l:--; amended ur ret ised. hr
its ntizer\ti\‘c prcn ideal by l;t\t.

ici l'n.~;ttrc tii:tt public reenrd.\' tlt;tr nrc exempt ur willidentinl and e.\cni;‘.t t`min
public records tfi\c[ii>;ttrt: renuiri;tnent;\' nrc nut t[i~:eiu~cil c\cept ;t\ znnltr~ri/ed h;. ln\\:.

tdt \.lect ;tll l'cttr:iretncnts £`nr remitting public rccord.\' -.tnd tr;iu-t`er. tit nn cu_-it. in thc
' ‘ir»n <rf` the cunn'neti'n' nprnt termination i#f' thin cnntt':rct

 

L`i:_\. ali _;_nihii~: records in purse
;ln<l rie;\'tri\_\ tirt_\ dupi:'crtte public records titnt nrc e\entpi tii‘ cnni‘idenii`:i ;msf exempt l`:'i)rn
pnhlic recurd_s di-.\'ln;\‘urc requirerncnt»'. .~\.ll records strircd cleetri)nic;ili_t must irc
pri.\\ided tit the t"it_\ in :t li.~rnntt that i~i compatible with the inl`i)rni;tti¢tn tee|tin_)iu_ej,

vt ‘~'lern\\ ¢\l" tl"tc l ’it_\.

 

itt

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD DOC"|'<et` `10/02/2018 Page 23 of 52

l.\A “"l'i'N FISS \\r`lll~fl{i'ff)l". the l iccn\'ur

.‘|-\ lisil\lt\\:

 

\\u~iitnrinnt A!:tzi:i:_;et'

-\ l` ii \ l :
ll»r\; 7 7 _ _
I’rint =\.“;:mr~:

`)cet'et:n'}

it '\»rp. n‘:ttc §c::l'i

».'rt't'r;in 7
t<)t -\tt rir

 

`l lie |'\\.rc_=__-uin;r in.\lruntcn|
_~5¢.)€"'§ _ ]lii .7_ |\x
ii‘i‘ k f
rif -\i.t
f""* JDSE»\RC=DHIG{EZQ\STRD
. _ thl|GG‘llilt$».e\'
a' ~ Exphn.lumi.mt `
°‘¢,¢,.h A»»aml¢dnuwry!~n=n

` l"~' ' ` ` ~.
l‘\':r‘»\)nn|l} lxr)¢'-wrt
ll,\i‘-L‘ wi`lt.$citlii'n,lt§n=is l`rln|ttr.‘er.!

/ *v

ttl\' t‘r\n|ut'ed ldcntit':c.ni~nt

   

F` )R`ll l.../\l.!l)l-l{Ej-\i.l`.

    
 

4zn' \\" :nns
f)eput_\ F}ircrti.\r fur l’;iri~..~ amd RccrL-:nii.~n

 

f,.l(.'i .’\‘\l l-

    

H.~=,‘,,,, ». t
l'rlnt N;nne: w_`___K?_:§___._
]'iilc; _ f f
'r 1 ..),=
t\.'t\ ;tci\tt\\\\letlect| before nnl Eln~ .;»`j{ day
,-e:"“~*¥""*"¢""~:" »‘tl l“` i'~<itr-.?L , . __ i"‘ ,

=\'l n

:;~.»)tnr_t l’nliile: f‘.it;tte or ___

€,\‘icnnttn _a'i|`\`t>l:tr_\' i‘w¢. ¢.
:~ .` .-' ~. ,. ~‘~- _, t ,-
_ . "\ \ . v.

 
  
  

wmahm:€;e!ttn:
£xo&vmt. 2021

\

\\`

   
    
 

'.\;; `V.`i;§:..tl‘.§\e - -q?.un.='? rim‘ ‘MW-=uU-gw»¢
li’rtnt._¥_\iirc. -n . nnth uinnn»‘mncd \=.'nne ._\t

?\.t~t;tr§ l’tll\ii_cs

`_`_¢¢

'}e§s'é)tiii:o`mci.¢_;zwn¢o

and thc l icen:~cc herein ct.ccnlc this l.ieen~re :\grecmcrll

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docl<et 10/02/2018 Page 24 of 52

l‘i,\'iiliil`i`l
W¢\R i\li'lé‘r'lf}i{l.~\l. .f\l§l)i'¥`()l{ll `i\i $¥‘il{'t"l(`li (‘If.-\{{(.'F..\i
l'ffi`cctiv¢' (`}c|nhcrl. 20 in

LABOR CHARGES

Her\'iecs rettt.iirer.| h_y the '\.\';ir Mcinnri;il r\ttditnritnn sitail he limited tn lltusc cunsidered essential
;n‘i\! tt\ hein-¢_r hcnclieini ut lite licench during its nccupanc} nl` the _-'\tz\litnrium. `l`hn
\i:ti'i;tgciiieiis siiali stippl_\ these services \\hctlter it he ltzanfw\\cr r~r materials M:tn;n_tcment
shall act irs the euutr-.iemr and hill tile |.icens;ci: l‘or required time lite untrue i_)l‘ the c\cin
determines thc nrc u!`un_\' nersinn'iel listed l‘cltm. __;f\£_[“?;!j.. r_ ' ' ;t”iun line \\ill he charged
int nil personnel ei\~:rsx -\ ier\icc t;t.\. nt`{)‘*-`n t\i|l i')c added tit a a mr clair;. s. unless i\iccnsce is
ins exetii[it pursuant tit i"iurit.lu St‘.itulcs,

   

   

     

5`|'.~\(}|~§ vi`l".{"I'It‘~il(:'l_'\N.*i

 

.-\ minimum u§` i\\t) per~.'urts l`rir ali events ine£r:clin-=' rehear-nds sci-tips and siril\cs is requir\-d
l\’\_'lteursul'~ nni} he -'cltednied tn the i.iisct'etii\n »1l`the _\l:ul.'tncmcin i{ehe:n'\;ti\ are considered t.t\
itc a "st;ig.c s)nlf. " usc ni`tl'ii: ltuildii:g_. iin: prcscnec ul`;nl_\ audience \\ iii gcner‘.uc n charge ti\r an
:i-`l\.iit`inn:il pi_::"t'i-rnti:nee =\i| expenscs incurrcd nn l'tchuilll ut the liict.'nscc`\' reh trs‘:t| .n‘-: nn
<'»i)lig.;nii.iu nl` the l iceusec. inciudit'tg tnunpu\\er and :tll u\crtirnu l.ic-.\n~.ur util trier securityl
\\.itctt i seen-air considers it ncce;s‘s;n'} t`ur the sni`el_\ of`necutt;un-_~ and l‘uildin;:-_ during reite;n`s:ii~,

 

 

it.;~\'i`l'f
l’i‘=itlt:c'iit=ii l`nt>rdinutur l l€‘»tn'l_s i(;tte 5 il?.i.lil
|’rutiuctiun t`uurdininur iluurij. R:i.'e.
\.trtiril.t'\ & Snnd;i_\ ii 42.|)')
i'ruductiun t `i~=iniinutur li\iurlj. |<uie.
l egan ih\lidn_\ st t"ltristnnas l;\e and ;\'c\\ ‘t'e;u`s lite ‘$i-l_§,t`lt`i
l'r(\duetiun (`t_u)i‘din::liir ilr)nrl} l~{.'ite. ?\iidnight
m ~*~"IPH `t.u'.._.ind .n`ter eight cnnsccttti\ c hours ‘§ 'i.`..tltt
l't':tiin<tiitn [`t'\\tl'din'.tt\)t‘ l lunrl_\‘ l\{:nc. .t!`tet'
sixtcett t'\tnsccntivi.' hours St\tl,titt
Sta;e leciuiieiun l|i\uil§. l{.itc. per pcrsint .‘;~ 1~\'.itl"
%t.t;.>c lecln\ieiun .‘iaturdn_\ de ‘~`urtd-.t_\.
firiuri_'. i\’.ate. ;\ci ites's'un is l]'iif
.\t\u`_\e lccitniciun l--li>nrl_\. |E.t!c.
| en.':i ilt»litl;t). H. (`.`ltristnt:ts lite .'.tntl \c\\ \"c.n".~ lf\'e ¥'i.].€tt`t
Ht.tg_ ' lct.:itnrci:ut |iunrl_\ l{.nc. per pcr\»‘nn_ hiitlni~_;ht
tr_\ i~i.t`itl :1,nt.. and z.iliet' ci;hi cunsecttlite itinn's `.\ -l§ iiii
\itngc lcclniici.ttt litiur!_\ li.ne. :itict'
sixteen c~)tt\eenli\'c iia-ur-. $F'ti\.lit)

Case O:lS-CV_-62345-FAI\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 25 of 52

Fi! il'§( "l`i{|(."i.‘\.\.'s'
-__..._._,.M____

'l lie hiiiiie pti_~. inter .i~‘ atbni-'e apply !`c)r tlin\ie persons lii_ii`i)_e_ diiwii portable pii\icr di~:ttihi:tinn
nili.l the ~tril\i'iii: ii!` the same :»'j. stem l)uriug trade slti_i\s-t. ii minimum nl`iiiie person \\ili he nn
L|Ulf~' lt‘l d|l llnttt'~‘ \ilien llte building i`.~` occupied by ex|ii`hi`tnr> ur show utieitdees. i\'l:aiizigi.'nieii$
\.i‘i!l decide it`flie <liiii~. requires inure lli:in urie pursuit

li\"f"..\"[` .‘~"[`i»\l"l~' R.-\'l`l'§
lfiiii~.e Siiper\‘i`,~=nr, per huur 3 Z-J.SU
lim Ut"t'ice (."tts]iier. per li=itir '§ l 3".5'}
lii'eiit St:it't`. per hour '1' t?.$i]
|<e'_i:rui.»tii i-\tteiidiiiit. per liiiiir 5 l?_.ilt
f_`u.~'tndi;ii .\`-:i'\ iec.\. per iiiiur`h 3 31.5(.!
l"it'c \\ ;iti:|\. per hour 5 iii ill
Fei‘tti‘it} =)l`t'ieer'. per liiiLir. litiiirineil ‘f~ .Eltit.!

f‘:it'l~i`ng l iit St;ll'i`_ per ltc-ur § l_‘".j|}
l".‘ii'l\', |{;iit;iet'. per lii)ui' ‘\ _l[>..if_l
l'i\l=§\'a" tier liirttt' `-.`§_5.|1

1_/:...

f`."icf‘\ iee~i .\~li;i|i he Li:i.\‘e.~is'ed iii the l.ieeii.-ee t`in‘ uhii‘\'c iii~riii:d iiiiti`e.~ nr e\'ee-\'\ cleaning tit`ier ii

perf`i.)rin:iriire. it"lt hc»_S-m‘ies ueees.\:;u'_\ . l\et:iiti.\‘e i)t`l ieeii`~ee`~ uecup:tti-"}',i
'l`[(`KFf"fli\(§ ("l|,-\R(iI-.'."»'
-»~_~.___....__,,,___

| iel-.ettu;i.~‘tet‘ §iitertiet iiitd |'|iiin.e miles 4"¢»

ft redit e;ii'd s;i!e~.' ;i: \\ .\-l'\ lina U[`t`iec J"J.
l iel\i:!\ printed :il \\`\l `\ ii\m f.|t`l'iv.r .`§U. "f`t ticket

¢’ R.=\`l`l§$

 

l"-\(`ll.l I"i I*`l",l"..‘i`!|’.»\[€i{li\

\ niiiiiiiiiini ‘H`,'¥UH I tiei|itj~` l"ee \\ili he cli;irt__\ed nn !ii‘kei\' :uid or ;idiiii~..~‘inci I'ee\ tn e\i_'iii~ _tt
\'\`\i`\_ l§ii're \ii|i he iiii charge $¥ir giai.rl\nig__' t`<ie‘ tliee\‘eut>i iii.r which al l"ii'ei|§:} lee i~ i:li:ir\_;ed.
lite |d:ii'Ltiii; fee lirr c\eiu-~‘ l`nr \\ii`ieli .idriii»a-iiiiz iii \i\ \-'!i\ is !`iei: or nn ;sdiiii:\».inu i\ ;'|i.'it‘c_ed. viii
lie .u ;i i‘iiiizi;i~.iiiii mile .tt`Si,_t_t£i="\ehie¥e.

( it; .i." liiii't l ;tudei‘.l;iie .~€t‘il`l'\\i|l he required li»r till !ii;l~el deli§si-Ti ;:nd 'i,)r iidiii`:x>inii t`ee\ collected
,it \.\ \l,\__

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Doc-ket 10/02/2018 Page 26 of 52

   

 

EQUFPMENT CHARGES

iii lill’i\ll;]:'\i"l` R.-\'I`l€
C_`ll plii} er_ l\']ini l`)i.~c. er .\lti|ti` l)i\;e each per d'.i_~. ‘S -li.tl(l
(`l'i.'iir.~& t`piit’t:tlile), per d:t"i ‘5 l ill
(`Eeziri tip l'ei.' tu.~» iii:ededi $~l_")(l.l?ll
|Junipsicr l`ee ‘S:i:i£!.t‘lf)
l".'ill'e! .l.lcl\' |ts.‘l‘ d;i_\ ‘h` _?t,i t`ll"t
lfiee.lri`~': 30 .i\.\fl’ per d;i_\ $ itt_t,tt]
l ¢'i;i'd |tl fill S 31`\.,flt.l
t.itite_\_ H‘ \ "\ii" '5 finn
l';ih[ev tl li` `l`ri|‘i~i] 5 .\;_ttit
|{iiuiid hum;iiet t.'ihle.\' '§i :Ett_t'ttl
\’\`:iter lli\iikup\ per d:t_\ ‘5\` -lf`l.ti`!`t
`\\'ireli:~s .\]ie per d;i} `i\` ."\ll_¢lf|
Wl!"l per duj.' _'S ".-’j,t`ltt
l§rii:ii.ll'\:iiii'.l iiiternet i`i'\r h:~_»:idc:tsting \ l"\|:l.l"til
|’ort:i|el\ l{egul;u‘ 5 St"t.£ttt
l’iii'i:ilem .»\I)i\ ll litt.titi
1\` w lit t 'ui‘t.iiii l§iii)t|t.z tlil;iek i)iil;i"i 'S f“~€`¥.!tit
iii\;l'tide~» Gl\§i‘t\,‘d l'.'tl'ilt: itttd t\~.i) c?t'.iii':<
l‘ipe and l)r;ipe. tier |iiieitr flint ‘S 225
|’i\rl.tl‘li.‘ l \'ti.'i'zi)t‘ f£si\ €_ il`!'tee ‘,`i.`i|ii).!l£l
(lutdt)tit' l't:a'ft\‘z\l l"t'ritit l'elti.'e |. `ii\ei' `iillt}"..|t]
\`t'.ii_'e Ri~‘ei"» ii ZFNNI
l‘tett\_‘it ll;tl't'ii.‘;ide~-‘ `5 |t`t_t"Et`i

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket-10/O2/2018 Page 27 of 52

Marketinq Charqes For Clients

Cost On average views Suggestions!ti|otes

 

Fai:ebook Boosts StOU 3 GOO+ Purctiaise 2 Fai:el)cok Bousts
TWilter Free 100 t Facebookl€onstant Coritai:t
tagged

Ccrislant Conta~;t StOiJ 1 OGU+ Disptay one week before event
Marqueei'l_riienor 5200 1 000+ a day Di`splay weeks before the event
New Times Bann»ers St£§ 60 CTR l25l~( impressions Ruris for 7 days before
the event

New `l’in~ies Re»$`icin S?.Eii’} 26 h-:iur platform Purcl‘iase 2 re~skms
Ruris for 'l clay

New times E~Blost 5130 l§k Runs for 2 weeks-opt i`ri only
{;it\_.l \i‘Jeba:t-'.a> Free 1000* Viewed on Evenisi Ca!onuar
page

Clly's Channal 353 SEU[} lOGDt Vlewei.‘i by Con'n;a§;£ subscribers
WMA Grr.>n?zic Deaigner $ _IBU Slide creation i:.'iai‘ge per slide

~ C TR=Cti.:t¢. Tri:nugl'i lime ilational average is 60 Clicks pier tUU.GGD iinpres,sii')n§

City tii:~:i_>rts ~ tiliiit-.=.rz<

r€.<$n.’t€-.‘¢'lts

Bi|l BGatd:'='

Radio
Voicceo\r=~:r
30 sec ansi
Facetioot\ Posl
finder ad

Televisiori

Deco Dri-.ie

Palm (.`.arr§s

Poslers

Pross Re|caso
Miami i~lerzild
Siin rha-nth
final Sir.:c:r
Ni=.-w Tirn-.-`:t`=

"f-.Oii lobe

Grmti}ori

Additt'onal Marl<etinq Tools

 

 

 

Cost Notos

SAUU Mailecl to City c.l F`nrt l_.;aii<ierdeto
$5¢15»}< per 4 weeks - Outlront onertisr!g
34be Css% to make

Sd_?i(tG 30 spots

330€)

S$OU Lasls for one week on .’-l.‘-Jdio 5 welssile
5 125 SP<

SBOG iff-0

FREE

FREE

FRE'E

FREE

Suqqested Discount Safes

CaS€ OZlS-CV-62345-FA|\/|

EXHIBIT 2

Move in at 8:00 AM
Move out by 11:59 PM

January 12. 2018
January 13-14. 2018

Move in 318:00 AM
Move out by 11:59 PM

March 16, 2018
March 17-18. 2018

ane in at 8:00 AM
Move out by 11:59 PM

May 4, 2018
May 5-6. 2018

Move in 318:00 AM
Move out by 11:59 PM

Augusl 10, 2018
August 11-12. 2018

FLORIDA GUN SHO’WS 2018

CONTRACTED EVENT DA'I`ES

AND PRIC{NG

- FLORIDA GUN SHOWS
2018 CONTRACTED DATES

 

MI.M_M
Januaqi 12, 2018
January 14, 2018

Friday move in
Saturday 8 Sunday
Two Show Days @ $1,785.00 each

MARCH 2018
March 16. 2018
March 18, 2018

Friday move in
Saturday & Sunday
Twu Show Days @ $1,785.0083<:11

MAY 2018
May 4. 2018
May 6. 2018

Friday move in
Saturday & Sunday
Twc) Show Days @ $1.785.00each

AUGUST 2018
August 10, 2018
August 12. 2018

Fri'day move in

Saturday 8. Sunday
Two Show Days @ $1.785.each

Page 1 of?.

Document 1 Entered on FLSD Do'¢ket'lO'/`o'z/zola Page 23 of 52

$1,470.00

§3570. 00
$5. 040.00

$1.470.00

3 570.00

$5.040.00

$1,470.00

§§M
$5.040.00

$‘1,470.00

§3 570.00
$5.040.00

Case O:lS-CV-62345-FAI\/| Document 1 Entered on FI~_~SD~DOC|<et 1.0/02/2018

Move in at 8:00 AM
Move out by 11:59 PM

September 28, 2018
September 29~30

Move in at 8:00 AM
Move out by 11:59 PM

November 16, 2018
November 17-18, 2018

SEPTEMBER 2018
Seplember 28, 2018
September 30r 2018

Friday move in
Saturday 8. Sunday
Two Show Days @ $1,785.00each

NOVEMBER 2018
November 16, 2018
November 18, 2018

Friday move in
Saturday 8 Sunday
Two Show Days @ $1,785 each

TOTAL ALL SHOWS

Page 2 of 2

$1.470.00

§3 570.00
$5.040.00

$1.470.00

§3 570.00
$5.040.00

$30.248.00

_ Page 29 of 52

I",.\'l~liiil'f` 2

RE¢"[SEI) f"EBRU.»i/i’ Ir’ 5, 2013 m add Ju)w jil»Jufl-' I, 2013 dr_g!_e

Move in ai 800 AM
Move out by 1159 PM

.|am)ary 121 2018
denman 13-14_ 2018

Move in at 8 00 AN§
Move 001 by 11 59 PM

Niarch 16, 2018
March 11'-18 2018

Mova iri at 8 00 AM
Move out by 11 50 PM

May 41 2018
way 5-61 2018

Move in at 8:00 AM
Move out by 11:59 PM

June 29. 2018
June SO-July 1, 2018

l""l.v(ll{il).»\ GEFE\` SH()WS 2018

(_F()N'!`R.-\£,"f'l'§f) l'l\"f‘li'\"f` l)\»\`l`l?lb`

.‘\Nl} PR|( ‘IX(`;

FLORIDA GUN SHOWS
2018 CONTRACTED EJATES

.IANKF.»\R§` 2018
January 12. 2018
danuary 14, 2018

Fr`iciay move in
Safuzdav 8 Sunday
on Shovv Days @ 31 _?85 00 each

;\1.-\.|2("|£ 211 18
March 18 2018
Maroh18, 2018

Fricfay move in
Saiairday 8 Sunday
Two Show Days @ 81,?85 OOeac'n

;\L\Y 2018
May¢:_ 2018
Ma','€ 2018

Friday move in
Saturdav 8 Suriday
1'wo Show Days @ 51,?'85.0063¢?1

J£-'N.E 3018
June 29, 2018
July 1, 2018

Frr`day move in

Saturday 8 Sunday
Twc Show Days @ S‘!_.?'B§.Ucleach

!’;;_\gu i \11`,?

Case O:lS-CV-62345-FAI\/| Document 1 Entered on FLSD Docket 10/02/2018

$1,11?0 00

§35}"0 00
35 040 00

51_4`1`0 00

§3,57"{} 00
351040 00

$1 4?0 00

§3 5?0 _QQ
§5.040 00

51,470.00

§;L§;@_.@
$5.040.00

 

Page 30 01 52

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 31 01 52

Move in a18'00 AM
Move out by 11;59 PM

Augus! 10_ 2013
Augusr11-12.2018

Move in at 800 AN%
Move cut by 1 1 59 PM

Septomber 28 2018
September 29~`30

Move in at 3 00 AM
Mo\.ie cut by 11 50 PM

Novemt;er 15 2018
Nr;vemher 1118 2018

AU(;US'I` 2{}|8
Au§usf 10_ 2018
Augusc 12_ 2018

Friday move in
Saturday & Si.inday
Tw»:) Srzow Days @ 01 ?85,each

511 1"1`1`.1¥1|£|~11€ 2018
Sep!ember 28, 2018
Sepfemher 30 2018

Pr:day move in
Saiurdav 8 Suni:|ay
Two Shovv Days @ 311?85 0063¢?1

NOVEMBER 2018
November 18 2018
November 18 2018

Priday move m
Senurday 8 Sunday
Two Show Days @ 81_785 each

TOTAL ALL SHOWS

K l;` l "IS I;`!) T{} 7 91 I. A J.'. !. .S’h' 0 li ".S`

.`

1’;11__'\: 2 1111

3114"/’0 00

§;5?0_00
35 040 80

31 470 00

211_§_?,§,.00
35 040 so

31_4?0 00

§§-_~‘“>l§§_f§§
55 040 00

530.240.00

S.)'j,.?$$,!!!)

 

Case O:lS-CV-62345-FAI\/| Document 1 Entered on FLSD Docket 10/02/2018

` ‘ "}RE;'

`z§ <! i`;::\'!\:i|:!lhi.l
.Xudimr§um M.anugcr

   

  

,.-".l:)

1\['!|':541`:
ii}: _r _ _
Prinl N,n'r\u

‘~§»' c ram ry

c(iur;\»)r;\lc Sa.:.»i;

5!¢'\¥'1;()|
r_¢»i:\,='l\' my

 

in>lru:‘ncm
` 251 l ¢"\'. l\},

H\c' f`\zr*..‘ua~r£\h>~t

    

  

{"z"`“` ’5,.¢#'% wainwme
_ CJWMM¢GG ‘EHHS
Ex:)u?slum i..'£l|.Ei
Rwe MWm-ys¢vv¢

  
 

o»z'l‘s.,-\c_.~*1,1l-‘,m).-1»l.1-

l)‘c mn l)il'uul:.\r I`c1.r |’;xl‘L..~ zth Rc\;n'.'umn
l _

l`l(`l N.‘\`j,i‘.

  
  

 

H_§'; ,
f’rim N;zm
l`ilic: !-"/ ,`_ _`

\\;u; .'u‘k;m\\‘l¢.‘¢igcd hc|}\l'c me

  
 

 

§1."»

  

?\irll;ru’_\' E'"-u"l-\'Hi:` 3:1:&1;~’ 0'£`
__{§i§z};s§\z¢‘§-..;\[ \"<zuu'y WZN

     
 

i'i¥`ri`, z_

ph p € '¢=rnmi\\~imw»% .\';nn-; "»1"
`<u!.‘u'j» l'uhl_i

,' l"¢r.~¢)uu¥!_\ |~.mm:\ '_`"_`"-\_\___()|`€ Pmdl`:u:d |\.ia:m§f`lc.l£inn

! }]'\c <)i` ldcmil€c€n`mn F’r`i_uiu\:cd

P:!ga.‘ § nl' 3

i|‘si\ "-‘ L|;n_s a\i`

Page 32 of 52

Case O:lS-CV-62345-FAI\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 33 of 52

EXHIBIT “2”

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 34 of 52

Fort Lauderda|e Commission Meeting
AUD|O F|LE, EXCERPT OF

 

l

2

4 TRANSCRIPTION OF EXCERPT OF AUDIO FILE

8 In Re: City of Fort Lauderdale
Commission Meeting

Date: March 20, 2018
10 Total Run Time: 00:08:39
ll Transcribed On: September 21, 2018
12 Transcribed By: Kelly Roma
13 Court Reporter and
Notary Public,
14 State of Florida at Large
15
16
17
18
19
20
21
22
23
24

25

 

 

 

Orange Legal
800-275~7991

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018

Fort Lauderda!e Commission Meeting
AUD!O FlLE, EXCERPT OF

Page 35 of 52

 

1
2
3

G\U'F»l>

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

 

APPEARANCES:

DEAN J. TRANTALIS, MAYOR
HEATHER MORAITIS, COMMISSIONER
STEVEN GLASSMAN, COMMISSIONER
ROBERT L. MCKINZIE, COMMISSIONER
BEN SORENSEN, COMMISSIONER

ALAIN E. BOILEAU, CITY ATTORNEY

 

 

 

Orange Legal
800-275-7991

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 36 of 52

Fort Lauderda|e Commission Meeting
AUD|O F!LE, EXCERPT OF 3

 

l This audio file was transcribed by

2 Kelly Roma, Notary Public, State of Florida at

3 Large, as follows:

4 (Excerpt from City of Fort Lauderdale

5 Commission Meeting of March 20, 2018.)

6 PROCEEDINGS

7 MAYOR TRANTALIS: Okay. Is there any further

8 business? I have a couple of things 1 want to talk

9 about. We talked this afternoon about the -- about
10 the gun show and about the Wave and the Bahia Mar.
11 With regard »~

12 UNIDENTIFIED SPEAKER: Can you talk into the
13 mic, sir?
14 MAYOR TRANTALIS: I'm sorry. This afternoon
15 we talked ~~ I'm sorry. This afternoon we talked
16 about the gun show, the Bahia Mar, and the Wave.

17 And I read ~» 1 don't know if any of you had the

18 opportunity to read the license agreement with the
19 gun show. But it seems to me that we have -- we
20 have a situation that the community has --
21 continues to speak out against having the gun show
22 at War Memorial.
23 I'm hopeful that this commission will put on
24 the record its opinion that we should not continue

25 this gun show after the license agreement expires,

 

 

 

Orange Legal
800-275»7991

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 37 of 52

Fort lauderdale Commission Meeting
AUDFO F!LE, EXCERPT OF 4

 

l and I'd like to hear from everybody so that we
2 can *~ we know where we are moving forward on this.
3 Commissioner Sorensen, do you have anything
4 to say about this? Go ahead, Commissioner
5 Glassman.
6 COMMISSIONER GLASSMAN: Yes. Thank you. I'm
7 wondering do we actually have to wait until the
8 license expires in November, or are we able to take
9 action prior to the license expiring in November?
10 MAYOR TRANTALIS: Okay. Before we answer
ll that question, I guess we're going to have to
12 appoint an interim city attorney right now. So »~
13 we have to appoint an interim city attorney right
14 now. And do you have any recommendations,

15 Commissioner Sorensen?

16 COMMISSIONER SORENSON: One name that came to
17 mind was Alain Boileau -- Boileau.

18 MAYOR TRANTALIS: BOileau.

19 COMMISSIONER SORENSON: Boileau.

20 MAYOR TRANTALIS: IS Alain here tonight? Oh,

21 there you are. Is this something that you can take

22 on, Alain?

23 MR. BOILEAU: 1 believe so.
24 MAYOR TRANTALIS: Okay. Do 1 hear a second?
25 COMMISSIONER SORENSEN: Second.

 

 

 

Orange Legal
800-275~7991

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 38 of 52

Fort Lauderdale Commission Meeting

 

AUD|O FILE, EXCERPT OF 5
l MAYOR TRANTALIS: Well, you made the -- you
2 made the --
3 UNIDENTIFIED SPEAKER: Rookie.
4 COMMISSIONER MCKINZIE: First of all, I
5 think -" first of all, before we make the decision

6 to move forward, I think we need to consider what
7 we're asking of whomever we decide to do this, what
8 time frame, you know, and put some other things in
9 place. I think tonight we can probably get any one
10 of our attorneys to opine on this. I think we've
11 gotten a legal opinion before. I think it was to
12 allow the lease to expire.
13 MAYOR TRANTALIS: Well, before we get there,
14 I just want -- I just want to make sure we --
15 because we're going to ask questions now of our
16 city attorney, and we need to have an interim city
17 attorney.
18 COMMISSIONER MCKINZIE: Just for -- I wanted
19 to do this just for tonight.
20 MAYOR TRANTALIS: To appoint an interim
21 attorney?
22 COMMISSIONER MCKINZIE: Just for tonight and
23 we can decide ~~
24 MAYOR TRANTALIS: Okay. 1 understand. All

25 right. So does anyone have any objections to Alain

 

 

 

Orange Legal
800-275-7991

 

 

Case 0:18-CV-62345-FAI\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 39 of 52

Fort Lauderdaie Commission Meeting
AUDIO FILE, EXCERPT OF 6

 

1 Boileau being the interim city attorney ~~

2 COMMISSIONER MCKINZIE: Just for tonight.
3 MAYOR TRANTALIS: -" for tonight?
4 COMMISSIONER MCKINZIE: And we figure it out

5 later on.

6 MAYOR TRANTALIS: Okay. Alain, would you

7 mind coming up here? Thank you.

8 Alain, do you have any background on the

9 license agreement? Has this task been assigned to
10 you at any point in the past?
11 MR. BOILEAU: No, Mayor. I was not assigned
12 to this particular task.
13 MAYOR TRANTALIS: Was Lynn Solomon involved
14 with this?
15 MR. BOILEAU: I believe so.

16 MAYOR TRANTALIS: Or Paul? Paul, were you at
17 all involved with the interpretation of the license
18 agreement?

19 COMMISSIONER MCKINZIE: It's a yes-or-no

20 question.

21 UNIDENTIFIED SPEAKER: l was.

22 COMMISSIONER MCKINZIE: All right. So l

23 guess what we want to know tonight -- Mayor, if I
24 may?

25 MAYOR TRANTALIS: Yeah, go ahead.

 

 

 

Orange Legal
800-275~7991

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 40 of 52

Fort Lauderdale Commission Meeting
AUDIO F|LE, EXCERPT OF 7

 

l COMMISSIONER McKINZIE: -- is to give us

2 clarification. Do we have the authority to break

3 our lease? And if we break our lease, what are the
4 ramifications of that, or should we just go the

5 distance of the lease and make a decision at that

6 time when it's time to renew the lease?

7 UNIDENTIFIED SPEAKER: This is on the license

8 agreement for the War Memorial Gun Show?

9 MAYOR TRANTALIS: Yes.
10 COMMISSIONER McKINZIE: That is correct.
11 MAYOR TRANTALIS: He wanted to be ss he
12 wanted to clarify m- why don't you come up to the

13 podium. That way you have a microphone.

14 Lynn, were you at all involved in this?
15 UNIDENTIFIED SPEAKER: I'm SOrry?
16 COMMISSIONER McKINZIE: The license agreement

17 with War Memorial.

18 MAYOR TRANTALIS: The license agreement with
19 the ~~ with the gun show at War Memorial, have you
20 ever been asked for an opinion on that?

21 MR. BOILEAU: Mayor, l do know that in

22 looking at the gun issue, I had looked at the

23 agreement itself which terminates in November of
24 2018. It can be terminated for good cause. Of

25 course the question always comes as to what

 

 

 

Orange Legal
800-275-7991

 

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 41 of 52

Fort Lauderdale Commission Meeting
AUD|O F|LE, EXCERPT OF 8

 

1 constitutes good cause.

2 MAYOR TRANTALIS: 1 believe the actual

3 language also says if it threatens public safety.
4 MR. BOILEAU: Correct. 1 mean, there's se

5 that would have to be somewhat of a direct, but

6 that again is up to interpretation.

7 MAYOR TRANTALIS: Right. And but at the same
8 time it expires of its own accord in November,

9 correct?
10 MR. BOILEAU: Correct, November 2018.
11 MAYOR TRANTALIS: Right. So *~ so according
12 to the interpretation of good oause, you know, if
13 we were to terminate it in advance of November,

14 that would be a litigious issue, would it not?

15 MR. BOILEAU: Yes, it would.
16 MAYOR TRANTALIS: So we could be sued based
17 on that. At the same time 1 think we can ~~ we can

18 make the attempt to try to talk to the operator. 1
19 have done this once before. 1 did meet with the

20 operator right after the Pulse nightclub killings,
21 and he was pretty adamant he wasn't ever going to
22 change his mind, and he was going to continue to
23 have the gun shows at War Memorial.

24 1 do believe it was the opinion of the past

25 commission to continue the gun show and to continue

 

 

 

Orange Legal
800-275~7991

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 42 of 52

Fort Lauderda!e Commission Meeting
AUD|O F|LE. EXCERPT OF 9

 

1 the license as-is, but now that we have a new

2 commission, 1 think we have a different philosophy.
3 And -- and 1 think that -- 1 would like to think

4 that we could perhaps come to some sort of

5 consensus agreement tonight that moving forward, we
6 would not want to continue the license agreement

7 after the term is expired. Do you have any

8 comments? Yes, Mr. Commissioner?

9 COMMISSIONER GLASSMAN: Mayor, 1 would like
10 to know how many shows are left before -- between

11 now and November?

12 MAYOR TRANTALIS: 1 think six -- five or six.
13 COMMISSIONER GLASSMAN: There are that many?
14 COMMISSIONER MORAITIS: Oh, it'S OnC@ a

15 quarter?
16 COMMISSIONER McKINZIE: 1 thought it was,

17 like, two.

18 COMMISSIONER MORAITIS: Yeah. 1 thought it
19 was ~“

20 MAYOR TRANTALIS: No. There's one ~~

21 COMMISSIONER MCKINZIE: Do you know, Lee?

22 MAYOR TRANTALIS: 1 don't have it in front of

23 me right now.
24 COMMISSIONER MORAITIS: 1t's once a quarter.

25 UNIDENTIFIED SPEAKER: 1 want to say there's

 

 

 

Orange Legal
800-275-7991

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 43 of 52

Fort Lauderda|e Commission Meeting
AUDK)FME,EXCERFTOF 10

 

1 four. I'm just looking to Phil ~-

2 MAYOR TRANTALIS: IS that the number?

3 UNIDENTIFIED SPEAKER: -- to Phil to verify.
4 COMMISSIONER MORAITIS: That's a lot.

5 COMMISSIONER MCKINZIE: Can we do this, since

6 this is our manager, have him go back and bring us
7 the necessary information? We can have an
8 intelligent discussion, which we all know what our
9 hearts want and what we're trying to do to protect
10 our community and our kids based on the recent
11 activity in Coral Springs. 1 think we all are
12 very, very concerned about a gun show being in our
13 park, and we just want to make sure that legally we
14 can do it, and we're doing the right things not to
15 cause any further repercussions to us financially,
16 legally, and those type things. So we could do it
17 right. 1 mean, 1 think we made a mistake on the
18 other one, but we had a vote and that's how things
19 turned out. Let's get this one right.
20 COMMISSIONER GLASSMAN: Good idea, and it
21 will be properly noticed. The public will have a
22 chance to weigh in. 1t will be transparent. 1
23 agree with that, and we'll have more facts. And we
24 can certainly wait for two more weeks.

25 UNIDENTIFIED SPEAKER: Okay. And we'll have

 

 

 

Orange Legal
800-275-7991

 

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 44 of 52

Fort Lauderda|e Commission Meeting
AUD|O FlLE, EXCERPT OF 11

 

1 an -- we'll have an opportunity to study the

2 agreement and bring back to you exactly what it

3 says.

4 COMMISSIONER McKINZIE: And just remember,

5 you have staff at your beck and call. Anything you

6 want an answer on, you don't have to get it

7 tonight. You can always go to them and get

8 anything you want, all the facts to make these

9 decisions, and 1 think it will just make us more

10 transparent and make us more cohesive in terms of
11 what we're trying to do. 1 think we all think
12 alike. We have the best interest of the city at
13 heart, but sometimes we don‘t always do it the

14 right way.

15 MAYOR TRANTALIS: So as you're studying this,
16 `Paul and Alain and whoever else in your department
17 participated in this analysis of the license
18 agreement, 1 guess the sense of the commission is
19 how -- what opportunity do we have to terminate
20 this license agreement so that we no longer have to
21 host this at War Memorial Auditorium. Thank you.
22 (Excerpt ended.)
23
24
25

 

 

 

Orange Legal
800»275~7991

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 45 of 52

Fort Lauderda|e Commission Meeting
AUD|O FILE, EXCERPT OF 12

 

l CERTIFICATE OF TRANSCRIPTION
2

3 STATE OF FLORIDA:
COUNTY OF LAKE:

5 1, Kelly Roma, certify that 1 was authorized to and
did transcribe the audio that was provided to me and that

6 the foregoing Pages 3 through 11, inclusive, are a true
and complete record of said audio to the best of my

7 ability.

8 1 further certify that 1 am not a relative or
employee of any of the parties, nor am 1 a relative or
9 counsel connected with the parties' attorneys or counsel
connected with the action, nor am 1 financially
10 interested in the outcome of the action.

ll DATED this 24th day of September, 2018.
12

13 ma aaa
14 Kelly Roma

Court Reporter
15 Notary Public State Of Florida

 

16
17
18
19
20
21
22
23
24

25

 

 

 

Orange Legal
800-275~7991

 

 

Case O:18-CV-62345-FAM Document 1 Entered on FLSD Docket 10/02/2018 Page 46 of 52

Fort Lauderdale Commission Meeting

 

 

 

AUD|O FlLE. EXCERPT OF lndex: 20..nightclub
-W~ ~»»44¢ based 8;1610;10 --~--~~---~--_~_ gun 3:10,16,19,21,25 license 3:18,25 4:8,9
2 beck H_S D 7;8,19,22 8:23,25 6:9,17 7:7,16,18 9;1,
""""""""""""""""" t ' ~'~““-__ 10;12 6 11;17,20
20 3;5 B'Jil¢w 4=17»18»19, decide 5:7,23 __,W,_‘__uww_ri_ir

accord 8:8

action 4:9

activity 10:11
actual 8:2
adamant 8:21
advance 8:13
afternoon 3:9,14,15
agree 10:23

agreement 3:18,25
6:9,18 7:8,16,18,23
9:5,6 11:2,18,20

ahead 4:4 6:25

Alain 4:]7,?.0,22
5:25 6:6,8 11:16

alike 11:12
analysis ll:f’?

appoint 4:12,13
5:20

as-is 9:1
assigned 6:9,ll
attempt 8:18

attorney 4:12,13
5:16,17,216:1

attorneys 5:10
audio 3:1
Auditorium 11:21
authority 7:2

B

 

back 10:611:2
background 618
Bahia 3:10,16

 

23 6:1,11,15 7:21
8:4,10,15

break 7:2,3
bring 10:611:2

business 3:8

C

call ll:5
chance 10:22
change 8:22

city 3:4 4:12,£3 5:16
6:1 11:12

clarification 7:2
clarify 7:12
cohesive 11:10
comments 9:8

commission 3:5,23
8:25 9:211:18

Commissioner 4:3,
4,6,15,16,19,25 5:4,
18,22 6;2,4,19,22
7:1,10,16 9:8,9,13,
14,16,18,21,24 10:4,
5,20 Il:4

community 3:20
10: 10

concerned 10:12
consensus 9:5
constitutes 8:1

continue 3:24 8:22,
25 9:6

continues 3:21
Coral 10:11

correct 7:10 8:4,9,
10

couple 3:8

 

decision 5:5 7:5
decisions 11:9
department 11:16
direct 8:5
discussion 10:8

distance 7:5

ended 11:22
excerpt 3:4 11:22
expire 5:12
expired 9:7
expires 3:25 4:8 8:8
expiring 4:9

F

facts 10:2311:8
ngre 6:4

file 3:l
financially 10:15
Florida 3:2

Fort 3:4

forward 4:2 5:6 9:5
frame 5:8

front 9:22

give 7:1

Glessmau 4:5,6 9:9,
13 10:20

good 7:24 8:1,12
10:20

guess 4:11 6:23
11:18

 

H

hear 4:1,24
heart 11:13
hearts 10:9
hopeful 3:23
host 11:21

l

idea 10:20
information 10:7
intelligent 10:8
interest 11:12

interim 4:12,13
5116,20 6:1

interpretation 6:17
8 :6, 12

involved 6:13,17
7 :14

issue 7:22 8:14

K .

Keliy 3:2
kids 10:10
killings 8:20

language 8:3
Large 3:3
lauderdale 3:4
lease 5:12 '?:3,5,6
Lee 9:2!

left 9:10

legal 5:11
legally 10:13,16

 

litigious 8:14
longer 11:20
looked 7:22
lot 1054

Lynn 6:13 7:14

M

made 5:1,210:17

make 5:5,14 7:5
8:1810:1311:8,9,10

manager 1026
Mar 3:10,16
March 3:5

Mayor 3:7,14 4:10,
18,20,24 5:1,13,20,
24 6:3,6,11,13,16,23,
25 7:9,!1,13,21 8:2,
7,11,16 9:9,12,20,22
10:2 11:15

Mckinzie 5'.4,18,22
6:2,4,19,22 7:1,10,
16 9:16,2110;5;1;4

meet 8:19
Meeting 3:5

Memorial 3:22 7:8,
17,19 822311:21

mic 3:13
microphone 7:13
mind 4:17 6:7 8:22
mistake 10:1‘!

MORAITIS 9:14,
18,24 10:4

move 5:6
moving 4:2 9:5

N

nightclub 8:20

 

 

Orange Legal
800-275-7991

 

Case O:lS-CV-62345-FAI\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 47 of 52

Fort Lauderdale Commission Meeting

AUDFO FfLE, EXCERPT OF |ndex: Notary..yes-or-no

 

 

Notary 3:2
noticed 10:21

November 4:8,9
7:23 8:8,10,13 9:11

number 10:2

 

objections 5:25
operator 8:18,20
opine 5:10

opinion 3:24 5:11
7:20 8:24

opportunity 3:18
11:1,19

park 10:13
participated 11:17
past 6;10 8:24
Paul 6:1611:16
Phil 10:1,3
philosophy 9:2
place 5:9
podiurn 7:13
point 6:10
pretty 8:21
prior 4:9

PROCEEDINGS
3:6

properly 10:21
protect 10:9
public 3:2 8:3 10:2!
Pulse 8:20

put 3:23 518

Q

quarter 9;15,24
question 4:11 6:20

 

7:25

questions 5:15

ramifications ?:4
read 3:1‘?,18
recent 10le

recommendations
4:14

record 3:24
regard 3:11
remember f1:4
renew 7:6

repercussions
10: 15

Roma 3:2
Rookie 5:3

safety 813
sense 11:18

show 3:10,16,19,2],
25 7:8,19 8:25 10:!2

shows 8:23 9:10
sir 3:!3
situation 3:20
Solomon 6:13
Sorensen 4:3,15

SORENSON 4:16,
19

sort 9:4
speak 3:21

SPEAKER 3:12 5:3
6:21 7:7,15 9:25
10:3,25

Springs 10:11
staff 11:5
State 3:2

 

study 11:1
studying 11:15
sued 8:16

S¢'irensen 4:25

 

T

talk 3:8,12 8:18
talked 3:9,15
task 6:9,12
term 9:7

terminate 8:13
11:19

terminated 7:24
terminates 7:23
terms 11:10

things 318 5:8 10:14,
16,18

thought 9:16,18
threatens 8:3
time 518 726 8:8,!7

tonight 4:20 5:9,¥9,
22 6:2,3,23 9:5 1127

transcribed 3:1

transparent 10:22
l l :10

TRANTALIS 3:7,
14 4:10,18,20,24
5:i,13,20,24 6:3,6,
13,16,25 7:9,11,18
8:2,7,11,16 9:12,20,
22 1012 11:15

turned 10:19
type 10:16

understand 5:24

UNIDEN'I`IFIED
3:12 5:3 6:217:7,15
9:25 10:3,25

 

verify Io:3
vote 10: 18

 

wait 4:7 10:24
wanted 5:18 7:11,12

War 3:22 7:8,17,19
8:23 ll:2l

Wave 3:10,16
weeks 10:24
weigh 10:22
whomever 5:7

wondering 4:7

yes-or-no 6:19

 

 

Orange Legal
800~275-7991

 

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 48 of 52

EXHIBIT “3”

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 49 of 52

clTY OF m

 

FORT LAUDERDALE \|"lr

 

August 31, 2018

Mr. Kha|ed Akkawi

F|orida Gun Shows, |nc.

1349 S. Orange B|ossom Trai|
Apopka, FL 32703

Re: License Agreement, War Memorial Auditorium
Florida Gun Shows, inc. (“Licensee”)

Dear Mr. Akkawi:

We are in receipt of your correspondencel dated August 14, 2018, requesting a 2019
License Agreement for Florida Gun Shows, |nc. at War Memorial Auditorium. At this
time, we Wii| not be providing Florida Gun Shows, fnc. any proposed License Agreement
for future shows beyond November 2018. VVith regards to What We consider and
interpret as your public records request, there are no responsive documents

Sir

ll.e_>

Lee Fe| man, lCMA-CM
City N|anager

C: Aiain E. Boileau, interim City Attorney
Christopher J. Lagerb|oom, Assistant City Manager
Phii Thornburg, Parks & Recreation Director
Car| Wi|liams, Parks & Recreation Deputy Director
Or|ando J. Caste||ano, Auditorium Manager

Office of the City Manager
100 North Andrews Avenue, Fort Lauderda|e, Florida 33301
Te|ephone {954) 828-5013, Fax (954) 828-5599

www.fort|auderda|e.gov

§
Equa! Opportunit\,' Ernp|oyer Prl`nted Dn Rccyr.!c.d Papc=.r. tag

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 50 of 52

is 44 (Rev. 061/171 FLsD named 015/011201‘1 CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein ncilher replace nor su plcment the iiling and service oi` plrmdin s or other pagch as required by law, except as
provided_by local_ rules of court. This form, approved by the _ludicial Confcrcncc of thc 1Fnilcd Statcs in Scptcmbcr 1974, is require for the usc o thc Clerk oi'Courr for the purpose
of initiating thc clvil dockcl Shccl. (SE.E JNSTRUCTJONS GN N.EXT PAGE OF TH!.S` FORM.} NOTICE: Attorneys MUST lndicate All Re-l'lled Cases Below.

1_ {a) PLAINTIFFS FLORlDA GUN S_HOWS, lNC., DEFENDANTS CITY OF FORT LAUDERDALE ,
A Flonda corpornnon, fll<)'n SHOOT A Florida Municipality.
STRAIGHT GUN SHOWS, INC.
(b) County of Rcsidcncc of Firsl Listed Plaintii'f Omnge County' Flonda Counly ochsidcncc of First Lis|od Dcfcndant
{EXCEPTFN U.S. P.L.»UNT[FF CJSES} ('IN U.S. PMINTIFF CASES ONLY}
NOTE: lN LAND CONDE.MNAT[ON CASES, USE TllE LOCAT|ON OF

TElE TRACT Ol" LAND INVOLVED.

93 Attorncys (Fira': Name, Address. end Tele none Number) Allorncys (.[,"Knon'rr)
oodbury. Santiago & Corrcoso, ig.A.

9100 S. Dadeland l?»lvd.l Suite 1702
Miami. Florida 33156 Telephone: (305`1 670-9580

(d) Checlc County Wherc Action Arosc: |:| newsome |3 Monnoe' d akowARD g PALM 111=.1\1:'11 |:l MAll'riN L'_l sT. Luclu D moran 111ve11. |:l ounsel-loose n chHLANos

 

lI. BASIS oF JURISDICTION {PI.acc rm "X" 1'n Onc .H'o.r On.ly) Ill. CITIZENSHIP OF PRINCIPAL PART|ES riviere an “.\"'r`n Orre Bo.r_fbrPfo'in|'['HJ
{For Dl'vcr_rity Ca_ses' Om'}') mid Oue BonrJr Defel!dmr.l}
|:| l U.S. Govcmmem l¢C| 3 Federa| Quesu`on PTF DEF l’TF DEF
P|ainliff (U.S. Go\'emmem Noru Par'ry) Cilizen ofThis Slat¢: g | a l lncorpomrcd or Principn| Place .E 4 all
oi`Business ln This State
|] 2 U.S. Governmenc |:| 4 Diversily Ci1izcn of Anorhcr Slm: n 2 |:| 2 lncorporatcd amf Prineipal Flace |:| 5 |:| 5
Det`endanl (111dr`carc Cin':errshr'p of Parrr'es 1'11 lrcm Hl) of Business 111 Anorher Sme
Citizcn or Subjec: ofa n 3 n 3 Foreign Natinn n 6 |"_`| 6
l~`oreign Counrry
lv. NATURE OF SUIT (Place mr "X” in One Bar Only) Cl'lclt here for: anu.rc ol`Suit Code Dcscriptions
CONTRACI' TORTS FORFEITUREJ'PENALTY BAN`K.RUP'I'CY OTI'IER STATUTES
n 1101nsu1nnce PERSONAL lNJURY PERSONAL IN.IURY n 625 Drug Relaled Seizure E422 Appea| 28 USC 1511 I:I 375 False Claims Act
|]1211 Marin= |:| 310 Airpl.-me |:| 355 cessna usury - erempeny 21 usc 1131 13423 wi¢hdmwal |:| 376 oui Tam(al usc
E130 Miller Act I:I 315 Airp|ane Pmduct l"roduct Liahiiil.y n 690 Other 23 USC 157 3729(;1]]
n 140 Negotisb|e insu'umenl Liabilily I:l 367 llea|t|\ Core." n 400 State Reapponionment
n 150 Rccovery oFOverpnyment n 320 Assau|l, Libe| & Pl\armaceulicz\| PROPERTY RIGHTS n 410 Ann'trusl
&. Enforcerncnl ofJudgment Slander Pcrsonal lnjury E 820 Copy'rights m 430 Banks and Banking
n 151 Medicare A:t n 330 l-`edera| Emp|oyers` Prnducl Liability E 330 Furem n 450 Commerce
n 152 Recovery of Dcfaulted Liahi|i\y n 368 Ashestos Personnl n RZVPB:E A;;\p\?§;‘i';;led n 460 Deportation
Srudem Loans I:l 340 Murine lnjury Froduce I:l 840 deemark [:l 470 Racke\eer lnlluenced and
(E)u:l. Veterans) n 345 Marine Pmducr Liahility LAB()R SOClA[. SECUR|TY Corrnpt Orgcnizalions
n 153 Recovel'}' ol`Overpnyml:nt Liubili1y PERSONAL PRO|’ER'I`Y n 710 Fnir inbnr Smndards n 861 1111‘\ (13951'0 I:l 480 Consumer Credit
of Veternn's Benelils n 350 Momr Vellicl¢: l:[ 370 Othcr l"raud Acl n 862 lilack Lung (923} l:l 490 CableJSat'[`V
I:\ 160 Sloelcholders' Sui\s E355 Motor Vehicle I:[ 371 Truth in Lem.ling m 720 Labor/Mgml. Relations E363 DlWC/DEWW (405(3]] cl 350 SccuritiesJCommoditiesl
D 190 Olher Conlmcl Product Liabillly n 380 Other |‘ersona| n 740 Rnil\vny Labor Aul l:l 864 SSID Til|e XVl Excl\nnge
|:I 195 Cummm Pmducc Linbilicy El 350 omer eersem: cmp¢ny Dnmage l:l 151 Family and Medienl |_'_l sss usl (405(§)) El sen omer sm:mery minus
l:l 196 Frar\chise ln}`uryl I:I 385 Property Damage leave Acr [:l 891 Agricu|luml Acrs
I:I 362 Personnl lnjury - Froduct Linhi|icy I:\ 790 Otiu:r Labor Litigation n 1193 Envimnmenta| Matlers
Med. Ma|pmctice n 791 Empl. Re1. lne. EI 395 Freedom of[nt'orrnatioo
REAL FROPBRTY C[\¢TL RICHTS FR|SONER I’E'l"iTlONS SEcurily Act FEDERAL TAX SUlTS Ar:t
|:| 210 land condemnmien 440 omer Civil signs nam-as curpus.- |:la'ro Taxes cu.s. rlaimifr El see Arhiuecion
n 220 Foreelosure l:l 441 Vot`mg n 463 Alien_Detainee or Defendc_mt) Cl 399 Adrniuiscrntive Proccdure
n 230 Rent Lens¢ & Ejectment I:I 442 El‘r|ploymenr m §;gce:;°euons m vncmc n l:l gille -,!g‘osg Thlrd party 26 Acb'Rl:vicw nr Appeal of
n 240 Torts to i.and I:I jeég::$§§:ions Othcr: Ag,em:y Decisipn n
|:| 245 Terr cream uneasy |;| 445 Amer. wloisu;imies - |:I 530 ccneml IMMIGRA'rloN g §§u:";§“svw"mwl"y of Srar=
n 290 .'\l| 0rl1er Real Propcny Employmenl I:l 535 Deml\ Penalty n 462 Nammlizarion App|icntion
n 446 Amer. waisahililies - I:I 540 Mandamus & Ol|1er n 465 Olher lmmigmlion
Othcr n 550 Civil Righls Actions
n 445 Education n 555 Prison Cuudilion

560 Civil Derninee -
n Condiliclns of

 

Cont`mement
V_ ORlGlN fP!rrr:e cm ",\'"r`n One Bo.r Onl'y,| n
" _ ' T l'm=,dt' 6M|1'd'1't
'Z' ' 935;’;'11"5 m 2 §§$”s":;‘.‘e ':' 31551°1‘1 m “ §f‘“"“‘ed E' 5 an'?»?ie?diwi'=`?'" Lice:nim“ El ’ "FP¢.“"° El 8 nuisance camdede
Court bclow) Reopened (S,D€crjj'} Trunsfer DlS|FlCl-ll-|_dge thl 'tlorl Appe||a[g Cgun
len Mag151mte ___ ll‘€€l
ludam:nt l'lle
Vl. RELATED/ (Secinslmeiions): a] Re'flled Casc |:lYES dNO b) Related Cases DYES El NO
RE-FlLED CASE(S) JUDGE: ooCKET NUMBER=

 

l%'licagi§ Y&hcxl}ln§ici;lll %EHHVFWHBA%WB% WS§WBF§BITEHE§ §f.?§&§§jDo nor cite jurisdictional statutes unless diversil)'}:
LENGTl-l OF TRlAL via one days estimated (f`or both sides lo lry cmi}'_c casc)

Vlll- REQUESTED IN n canon 1FT1ns rs n cLAss AchoN
COMPLAINT: UNDER F.R.C.P. 23

Vll. CAUSE OF ACTION

DEMAND $ CHECK YES only if`dcmandcd in complaint

JURY oF.MANr.-: El res g No

ABOVE lNFORMATlON IS TRUE & CORRECI' TO THE BEST GF MY KNOWLEDGE
DATE October 2 2018 slGNATURE 01-' ATTORNEY or RECORD

ron oFFlcc usc oNL.Y M

RECE[PT # AMOU`NT ll"l’ JUDGE ) MAG iUDGE

 

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 51 of 52

AO 440 (Rev. 06112) Summons in u Civi`E Action

UNITED STATES DISTRICT COURT

for the

FLOFt|DA GUN SHOWS. |NC..
A Ftorida corporation t/k/a SHOOT
STRAIGHT GUN SHOWS, lNC.

 

P[at'rrtij'(s)
V.

C|TY OF FOFtT LAUDERDALE ,
A Ftorida Niunicipality,

Civil Action No.

 

www~._r\_/~._/\._./\_¢\_»¢\_/-_/\_r

Defe)idant(s)
SUMMONS lN A CIVIL ACTION

TO: (Dekndant's name and address)
City of Fort Lauderda|e, FL
c/o N|AYOR DEAN J. TRANTALIS
City Hal|. Bth F|oor
100 North Andrews Avenue
Fort Lauderdate, FL 33301

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rnle 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the eourt.

CLERK OF COURT

Date:

 

Sl'gna!ure ofCierk or Deplliy C'Iei'k

Case O:18-CV-62345-FA|\/| Document 1 Entered on FLSD Docket 10/02/2018 Page 52 of 52

AO 440 (Rev. 06¢’12) Summons in a Civil Actiorl (Fagc 2)

Civil Action No.

PROOF OF SERV[CE
(This section should not be filed with the court unless required by Fed. R. Ci'v. P. 4 (l))

ThlS Sl.lmmOrtS for (name of individual and tit!e, {fany)

 

was received by me on (dace)

l:l 1 personally served the summons on the individual at (ptace)

 

on (daie) ; or

 

C} I left the summons at the individual’s residence or usual place of abode with (name)

, a person of Suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

53 1 served the summons on (name ofind¢'viduap , who is

 

designated by law 110 accept Scl'\"lc€ ()f process Ott behalf Of (narne aforgam`zatl'on)

 

 

Ol'l (date) § 01°
111 I returned tile summons unexecuted because ; or
l:l Otl'lcl' (specz]j)):
My fees are $ for travel and $ for services, for a total of S D_Og

I declare under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Printed name and title

 

Server '.s' address

Additional information regarding attempted service, etc:

